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UNITED STATES
UNITED        DISTRICT COURT
       STATES DISTRICT COURT
SOUTHERN  DISTRICT OF
SOUTHERN DISTRICT  OF NEW
                      NEW YORK
                          YORK
------------------------------------x      x
SECURITIES AND EXCHANGE
SECURITIES AND                COMMISSION ::
               EXCHANGE COMMISSION
                                          :: 19
                                             19 Civ.
                                                Civ. 9439 (PKC)
                                                     9439 (PKC)
                          Plaintiff,
                          Plaintiff,       :
                                          :: ECF
                                             ECF Case
                                                  Case
                -against-
                -against-                  :
                                          :: Electronically
                                             Electronically Filed
                                                            Filed
TELEGRAM   GROUP  INC. and  TON
TELEGRAM GROUP INC. and TON ISSUER ISSUER  :
INC.,
INC.,                                      :
                                           :
                          Defendants.
                          Defendants.      :
------------------------------------x      x

                 JOINT STIPULATION
                 JOINT             OF UNDISPUTED
                       STIPULATION OF UNDISPUTED FACTS
                                                 FACTS
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       The parties hereby
       The parties        agree to
                   hereby agree to the
                                   the following
                                       following undisputed
                                                 undisputed facts. By agreeing
                                                            facts. By agreeing to
                                                                               to the
                                                                                  the below
                                                                                      below

facts, neither
facts, neither party
               party concedes
                     concedes the
                              the relevance
                                  relevance or
                                            or admissibility
                                               admissibility of
                                                             of any
                                                                any of
                                                                    of the
                                                                       the facts contained herein,
                                                                           facts contained herein,

but rather
but        expressly reserves
    rather expressly          all rights
                     reserves all rights to
                                         to assert
                                            assert that
                                                   that such
                                                        such facts
                                                             facts are
                                                                   are irrelevant
                                                                       irrelevant and/or
                                                                                  and/or inadmissible
                                                                                         inadmissible

in the
in the above-captioned
       above-captioned action.
                       action. The
                               The parties
                                   parties also
                                           also reserve
                                                reserve all
                                                        all rights to propose
                                                            rights to propose to
                                                                              to include additional
                                                                                 include additional

facts, or
facts, or to
          to change, modify or
             change, modify or delete
                               delete any
                                      any of
                                          of the
                                             the facts
                                                 facts contained
                                                       contained herein,
                                                                 herein, including
                                                                         including in
                                                                                   in the
                                                                                      the parties'
                                                                                          parties’

respective filings
respective filings pursuant
                   pursuant to
                            to Rule
                               Rule 56.1 of the
                                    56.1 of the Local Rules of
                                                Local Rules of the
                                                               the Southern District of
                                                                   Southern District of New
                                                                                        New York.
                                                                                            York.

I.
I.     BACKGROUND
       BACKGROUND

1.
1.     Defendant Telegram
       Defendant  Telegram Group
                             Group Inc.
                                   Inc. is
                                        is aa corporation
                                              corporation incorporated in the
                                                          incorporated in the British
                                                                              British Virgin
                                                                                      Virgin
       Islands as of
       Islands as of January 16, 2018,
                     January 16, 2018, and
                                       and isis wholly
                                                wholly owned
                                                       owned by
                                                              by Pavel
                                                                 Pavel Durov
                                                                       Durov ("Pavel").
                                                                               (“Pavel”).

2.
2.     Defendant TON
       Defendant  TON Issuer
                        Issuer Inc (together with
                               Inc (together with Telegram
                                                  Telegram Group
                                                             Group Inc.,  “Telegram” or
                                                                    Inc., "Telegram"   or
       “Defendants”) is
       "Defendants") is aa corporation
                           corporation incorporated
                                       incorporated in the British
                                                    in the British Virgin
                                                                   Virgin Islands  as of
                                                                           Islands as of January 22,
                                                                                         January 22,
       2018, and
       2018, and is wholly owned
                 is wholly  owned byby Telegram  Group Inc.
                                       Telegram Group   Inc.

3.
3.     Pavel is
       Pavel is the
                the Chief
                    Chief Executive Officer of
                          Executive Officer of Telegram
                                               Telegram Group
                                                        Group Inc.
                                                              Inc.

4.
4.     Pavel holds
       Pavel holds dual citizenship in
                   dual citizenship in Russia
                                       Russia and
                                              and Saint Kitts and
                                                  Saint Kitts and Nevis.
                                                                  Nevis.

5.
5.     Pavel currently
       Pavel           resides in
             currently resides    Dubai, United
                               in Dubai, United Arab
                                                Arab Emirates.
                                                     Emirates.

6.
6.     Dr. Nikolai
       Dr. Nikolai Durov
                   Durov ("Nikolai,"
                         (“Nikolai,” together
                                     together with
                                              with Pavel,
                                                   Pavel, the
                                                          the "Durovs")
                                                              “Durovs”) resides
                                                                        resides in
                                                                                in Dubai,
                                                                                   Dubai,
       United Arab  Emirates.
       United Arab Emirates.

7.
7.     Nikolai holds
       Nikolai holds dual citizenship in
                     dual citizenship in Russia
                                         Russia and
                                                and Saint Kitts and
                                                    Saint Kitts and Nevis.
                                                                    Nevis.

8.
8.     Nikolai is
       Nikolai    the Chief
               is the Chief Technology Officer of
                            Technology Officer of Telegram
                                                  Telegram Group Inc.
                                                           Group Inc.

9.
9.     In approximately 2006,
       In approximately  2006, Pavel
                                Pavel founded
                                       founded VKontakte,
                                               VKontakte, aa social
                                                             social media
                                                                    media networking
                                                                          networking application
                                                                                     application
       based in
       based in Russia
                Russia that
                       that is
                            is similar
                               similar to
                                       to Facebook.
                                          Facebook.

10.
10.    Pavel served
       Pavel served as
                    as the
                       the Chief
                           Chief Executive Officer ("CEO")
                                 Executive Officer (“CEO”) of
                                                           of VKontakte
                                                              VKontakte starting
                                                                        starting in 2006.
                                                                                 in 2006.

11.
11.    Nikolai served
       Nikolai served as
                      as the
                         the lead developer of
                             lead developer of VKontakte
                                               VKontakte starting
                                                         starting in 2006.
                                                                  in 2006.

12.
12.    Nikolai has
       Nikolai  has Ph.D.s
                    Ph.D.s from Bonn University
                           from Bonn University and
                                                and Saint-Petersburg
                                                    Saint-Petersburg State University and
                                                                     State University and has
                                                                                          has
       won two
       won  two World
                 World Championships
                        Championships in
                                      in programming
                                         programming and
                                                       and three
                                                           three Gold
                                                                 Gold Medals
                                                                      Medals in  the
                                                                              in the
       International Mathematical Olympiads,
       International Mathematical Olympiads, among
                                              among other
                                                     other achievements.
                                                           achievements.

13.
13.    By 2011,
       By 2011, Pavel
                Pavel and
                      and Nikolai
                          Nikolai had
                                  had built
                                      built VKontakte
                                            VKontakte into
                                                      into the
                                                           the largest
                                                               largest social
                                                                       social media
                                                                              media network
                                                                                    network in
                                                                                            in
       Russia.
       Russia.


                                                  1
                                                  1
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14.
14.    Before 2018,
       Before 2018, Pavel
                    Pavel received
                          received no
                                   no income from Messenger.
                                      income from Messenger.

15.
15.    Before 2018,
       Before 2018, Nikolai
                    Nikolai received no income
                            received no income from Messenger.
                                               from Messenger.

II.
II.    TELEGRAM MESSENGER
       TELEGRAM MESSENGER

16.
16.    In 2013, Pavel
       In 2013, Pavel and
                      and Nikolai
                          Nikolai released
                                  released to
                                           to the
                                              the public
                                                  public aa messaging
                                                            messaging and
                                                                      and telephone
                                                                          telephone application
                                                                                    application
       called Telegram
       called          Messenger ("Messenger").
              Telegram Messenger   (“Messenger”).

17.
17.    Pavel funded
       Pavel funded Messenger
                    Messenger in
                              in part
                                 part with
                                      with the
                                           the funds
                                               funds received
                                                     received from his VKontakte
                                                              from his VKontakte exit.
                                                                                 exit.

18.
18.    Messenger allows
       Messenger  allows users
                          users to
                                to communicate
                                   communicate directly
                                                directly with
                                                         with other
                                                              other Messenger
                                                                    Messenger users
                                                                              users via
                                                                                    via chat,
                                                                                        chat,
       channels of
       channels of up
                   up to
                      to 200,000
                         200,000 members,
                                   members, and
                                            and groups
                                                groups of
                                                        of unlimited
                                                           unlimited size.
                                                                     size.

19.
19.    Messenger allows
       Messenger allows users
                        users to
                              to send
                                 send messages,
                                      messages, photos,
                                                photos, videos,
                                                        videos, and
                                                                and files
                                                                    files of
                                                                          of any
                                                                             any type.
                                                                                 type.

20.
20.    Messenger does
       Messenger      not charge
                 does not        and has
                          charge and has never
                                         never charged any fees.
                                               charged any fees.

21.
21.    Telegram has stated
       Telegram has  stated on
                            on its website that
                               its website   that Messenger
                                                  Messenger "is
                                                            “is free and will
                                                                free and will always
                                                                              always be
                                                                                     be free,” and
                                                                                        free," and
       Telegram is "not
       Telegram is “not going
                         going to
                               to sell
                                   sell ads
                                        ads or
                                            or introduce subscription fees.”
                                               introduce subscription fees."

22.
22.    Messenger allows
       Messenger allows users
                        users to
                              to purchase
                                 purchase and
                                          and sell
                                              sell products
                                                   products using
                                                            using fiat and digital
                                                                  fiat and digital currency.
                                                                                   currency.

23.
23.    Prior to
       Prior to the
                the Offering,
                    Offering, Telegram’s   principal business
                               Telegram's principal  business was
                                                              was operating
                                                                   operating the
                                                                             the Messenger
                                                                                 Messenger
       application, which
       application, which is
                           is aa heavily
                                 heavily used
                                         used messaging
                                              messaging application
                                                         application for
                                                                     for the
                                                                         the blockchain
                                                                             blockchain
       community.
       community

III.
III.   TELEGRAM’S EMPLOYEES
       TELEGRAM'S EMPLOYEES

24.
24.    Ilya Perekopsky is
       Ilya Perekopsky is aa Telegram employee.
                             Telegram employee.

25.
25.    Ilya Perekopsky’s title
       Ilya Perekopsky's title at
                               at Telegram is Head
                                  Telegram is Head of
                                                   of Business
                                                      Business Development
                                                               Development and
                                                                           and VP
                                                                               VP of
                                                                                  of Strategy.
                                                                                     Strategy.

26.
26.    Ilya Perekopsky was
       Ilya Perekopsky was the
                           the Vice
                               Vice President
                                    President and
                                              and Chief
                                                  Chief Compliance
                                                        Compliance Officer
                                                                   Officer of
                                                                           of VKontakte.
                                                                              VKontakte.

27.
27.    John Hyman was
       John Hyman was aa Telegram employee from
                         Telegram employee from at
                                                at least
                                                   least December
                                                         December 1,
                                                                  1, 2017
                                                                     2017 until
                                                                          until June 2018.
                                                                                June 2018.

28.
28.    John Hyman’s title
       John Hyman's title at
                          at Telegram was Head
                             Telegram was Head of
                                               of International.
                                                  International.

29.
29.    Shyam Parekh was
       Shyam Parekh was originally
                        originally engaged as aa consultant
                                   engaged as               by Telegram
                                                 consultant by Telegram in
                                                                        in January 2018.
                                                                           January 2018.

30.
30.    Shyam   Parekh was
       Shyam Parekh    was then
                           then hired
                                hired as
                                      as an
                                         an employee
                                            employee by
                                                     by Telegram   Holdings UK
                                                        Telegram Holdings   UK Limited,
                                                                               Limited, aa UK
                                                                                           UK
       entity established
       entity established by
                          by Telegram,  from January
                             Telegram, from          2018 until
                                             January 2018 until January 2019.
                                                                January 2019.

31.
31.    Since
       Since January   2019, Shyam
              January 2019,        Parekh has
                             Shyam Parekh has been
                                              been engaged as aa consultant
                                                   engaged as    consultant by
                                                                            by Telegraph
                                                                               Telegraph Inc.,
                                                                                         Inc.,
       an affiliate
       an affiliate of
                    of Telegram.
                       Telegram.

32.
32.    Shyam Parekh’s title
       Shyam Parekh's title at
                            at Telegram is Financial
                               Telegram is Financial Services
                                                     Services Specialist.
                                                              Specialist.

                                                 2
                                                 2
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33.
33.     Marta Kudina
        Marta Kudina is
                     is aa Telegram employee.
                           Telegram employee.

34.
34.     Marta Kudina's
        Marta Kudina’s title
                       title at
                             at Telegram is Chief
                                Telegram is Chief Financial
                                                  Financial Officer.
                                                            Officer.

35.
35.     Victor Ammer
        Victor Ammer is
                     is aa Telegram employee.
                           Telegram employee.

36.
36.     Victor Ammer
        Victor Ammer is
                     is the
                        the General
                            General Manager
                                    Manager in
                                            in Telegram’s Dubai office.
                                               Telegram's Dubai office.

IV.
IV.     THE OFFERING
        THE OFFERING

        A.
        A.       Background
                 Background

37.
37.     Pavel and
        Pavel and Nikolai
                  Nikolai stated
                          stated that
                                 that they
                                      they wished
                                           wished to
                                                  to develop
                                                     develop aa blockchain
                                                                blockchain that,
                                                                           that, in
                                                                                 in their
                                                                                    their view,
                                                                                          view,
        operated more
        operated more efficiently and achieved
                      efficiently and  achieved wider
                                                wider adoption
                                                      adoption than
                                                                than the
                                                                     the Bitcoin
                                                                         Bitcoin and
                                                                                  and Ethereum
                                                                                      Ethereum
        blockchains.
        blockchains.

38.
38.     To achieve their
        To achieve  their goal,
                          goal, in
                                in late  2017, Defendants
                                   late 2017,  Defendants began
                                                           began contemplating  the idea
                                                                  contemplating the       of raising
                                                                                     idea of raising
        funds to
        funds  to develop
                  develop the
                          the Durovs'
                               Durovs’ concept   for aa new
                                         concept for    new blockchain
                                                            blockchain by
                                                                       by selling
                                                                          selling interests
                                                                                  interests in
                                                                                            in digital
                                                                                               digital
        assets that
        assets that would
                    would later  come to
                           later come   to be
                                           be known
                                              known asas "Grams."
                                                         “Grams.”

39.
39.     Defendants initially
        Defendants  initially contemplated
                              contemplated engaging
                                           engaging in in aa private
                                                             private pre-sale
                                                                     pre-sale of
                                                                              of interests
                                                                                 interests in Grams to
                                                                                           in Grams   to
        occur in
        occur in January  2018 followed
                 January 2018            by aa public
                                followed by    public sale
                                                      sale ofof Grams
                                                                Grams inin March
                                                                           March 2018
                                                                                  2018 with
                                                                                        with aa listing of
                                                                                                listing of
        Grams on
        Grams  on major
                   major cryptocurrency
                          cryptocurrency exchanges
                                         exchanges scheduled
                                                      scheduled forfor January to March
                                                                       January to  March 2019.
                                                                                           2019.

40.
40.     Defendants ultimately
        Defendants   ultimately sold interests'1 in
                                sold interests      Grams (that
                                                 in Grams (that were
                                                                 were to
                                                                       to be
                                                                          be issued
                                                                             issued at
                                                                                    at the
                                                                                       the launch of the
                                                                                           launch of the
        TON   Blockchain, the
        TON Blockchain,    the "Network
                               “Network Launch      Date”) to
                                          Launch Date")    to aa limited group of
                                                                 limited group  of purchasers
                                                                                   purchasers (the
                                                                                               (the
        “Initial Purchasers")
        "Initial Purchasers”) using
                              using purchase
                                     purchase agreements
                                                agreements (the
                                                            (the "Purchase
                                                                  “Purchase Agreements").
                                                                              Agreements”).

41.
41.     Defendants engaged
        Defendants engaged in
                            in two
                               two announced
                                    announced rounds
                                               rounds of
                                                      of such
                                                         such sales,
                                                              sales, beginning
                                                                     beginning in
                                                                               in January and
                                                                                  January and
        March 2018
        March 2018 respectively
                    respectively (the
                                 (the "Offering
                                      “Offering ").
                                                ”).

42.
42.     Defendants were
        Defendants were the
                        the two
                            two entities
                                entities that
                                         that made
                                              made the
                                                   the Offering.
                                                       Offering.

43.
43.     In total, Telegram
        In total, Telegram sold
                           sold interests in nearly
                                interests in nearly 2.9
                                                    2.9 billion
                                                        billion Grams,
                                                                Grams, of
                                                                       of which
                                                                          which 1,051,832,728.56
                                                                                1,051,832,728.56
        were sold
        were  sold to
                   to United
                      United States purchasers.
                             States purchasers.

44.
44.     Telegram has stated
        Telegram has stated that
                            that between
                                 between January   2018 and
                                           January 2018  and October
                                                             October 2019,
                                                                      2019, Telegram spent
                                                                            Telegram spent
        approximately $390
        approximately $390 million
                            million of
                                    of the
                                        the proceeds
                                            proceeds of
                                                     of the
                                                        the Offering
                                                            Offering on
                                                                     on developing
                                                                        developing the
                                                                                   the TON
                                                                                       TON
        Blockchain and
        Blockchain and on
                       on Messenger
                           Messenger itself.
                                       itself.




1
  The parties
'The   parties have
               have aa legal
                       legal dispute
                              dispute as
                                      as to
                                         to the
                                            the nature
                                                nature of
                                                        of what
                                                           what was
                                                                  was sold
                                                                       sold pursuant
                                                                            pursuant toto the
                                                                                          the Purchase
                                                                                              Purchase
Agreements. The
Agreements.           use of
                The use   of the
                             the term
                                 term "interests
                                       “interests in
                                                  in Grams"
                                                     Grams” is is intended
                                                                  intended as
                                                                            as aa neutral
                                                                                  neutral reference
                                                                                          reference and
                                                                                                     and is
                                                                                                          is
not intended
not intended asas aa concession  by either
                     concession by          party as
                                    either party  as to
                                                     to their
                                                         their factual
                                                               factual or
                                                                       or legal  arguments relating
                                                                          legal arguments    relating to
                                                                                                      to this
                                                                                                         this
issue.
issue.
                                                      33
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45.
45.   Telegram  has stated
      Telegram has   stated that
                            that between
                                 between November
                                         November 2019
                                                    2019 and
                                                          and January  7, 2020,
                                                               January 7, 2020, Telegram
                                                                                Telegram
      additionally spent
      additionally spent approximately
                          approximately $15  million of
                                         $15 million of the
                                                        the proceeds
                                                            proceeds of
                                                                     of the
                                                                        the Offering
                                                                            Offering developing
                                                                                     developing
      the TON
      the      Blockchain and
          TON Blockchain     and Telegram
                                  Telegram Messenger.
                                           Messenger.

      B.
      B.      Round One
              Round One of
                        of the
                           the Offering
                               Offering

46.
46.   The first round
      The first round of
                       of the
                          the Offering
                              Offering started
                                       started in
                                               in January 2018 and
                                                  January 2018 and had
                                                                   had aa stated
                                                                          stated end
                                                                                 end date
                                                                                     date of
                                                                                          of
      February 9,
      February      2018 ("Round
                 9, 2018 (“Round One").
                                   One”).

47.
47.   Round One
      Round  One of
                  of the
                     the Offering
                         Offering was
                                  was over-subscribed
                                      over-subscribed in  terms of
                                                       in terms  of the
                                                                    the dollar
                                                                        dollar amounts
                                                                               amounts the
                                                                                       the
      persons and
      persons and entities who submitted
                  entities who  submitted Indications of Interest
                                          Indications of          (“IOIs”) sought
                                                         Interest ("IOIs") sought to
                                                                                  to invest.
                                                                                     invest.

48.
48.   On February
      On  February 13,
                   13, 2018,
                       2018, after
                              after the
                                     the parties
                                         parties had
                                                 had been
                                                     been in communication regarding
                                                          in communication    regarding the
                                                                                          the
      Offering, Defendants
      Offering, Defendants filed
                            filed aa Form
                                     Form D D noticing
                                              noticing the
                                                       the type
                                                           type of
                                                                of securities
                                                                   securities offered
                                                                              offered as
                                                                                       as "purchase
                                                                                          “purchase
      agreements for
      agreements  for cryptocurrency”
                      cryptocurrency" for    amounts totaling
                                         for amounts  totaling $850  million and
                                                               $850 million  and stated
                                                                                  stated that
                                                                                         that the
                                                                                              the first
                                                                                                  first
      sale occurred
      sale occurred on
                    on January  29, 2018.
                       January 29,    2018.

49.
49.   The  Form D
      The Form   D also
                    also stated
                         stated that
                                 that the
                                      the offering
                                           offering included
                                                    included 81 initial purchasers
                                                             81 initial purchasers worldwide,
                                                                                   worldwide,
      including in
      including in the
                   the United
                       United States.     In Round   One of the Offering,  Defendants raised $385.5
                                 States. In Round One of the Offering, Defendants raised     $385.5
      million from
      million from 34
                    34 initial
                        initial purchasers
                                purchasers inin the
                                                the United
                                                    United States.
                                                           States.

50.
50.   In Round One
      In Round One of
                    of the
                       the Offering,
                           Offering, Defendants
                                     Defendants raised
                                                raised $464.5
                                                       $464.5 million
                                                              million from 47 initial
                                                                      from 47 initial
      purchasers outside
      purchasers outside of
                         of the
                            the United
                                United States.
                                       States.

51.
51.   Exhibit
      Exhibit JX1 is aa true
              JX1 is    true and
                             and correct
                                 correct copy of the
                                         copy of the February
                                                     February 13,
                                                              13, 2018
                                                                  2018 Form
                                                                       Form D.
                                                                            D.

52.
52.   In the Form
      In the Form D,
                   D, the
                       the Defendants
                           Defendants claimed
                                       claimed an
                                               an exemption
                                                   exemption from
                                                             from the
                                                                  the registration
                                                                      registration requirements
                                                                                   requirements
      for securities
      for securities under
                     under Rule
                           Rule 506(c)  of Regulation
                                 506(c) of  Regulation D
                                                       D and/or
                                                         and/or Regulation
                                                                Regulation S of the
                                                                           S of the Securities
                                                                                    Securities
      Act of
      Act  of 1933
              1933 (the
                    (the "Securities
                         “Securities Act").
                                     Act”).

53.
53.   The Defendants’ Form
      The Defendants'  Form D D stated
                                 stated that:
                                        that: "The
                                              “The issuers
                                                    issuers intend
                                                            intend to
                                                                    to use
                                                                       use the
                                                                           the proceeds
                                                                               proceeds for the
                                                                                        for the
      development of  the TON    Blockchain,   the development
      development of the TON Blockchain, the development and      and  maintenance
                                                                       maintenance  of
                                                                                    of Telegram
                                                                                       Telegram
      Messenger and
      Messenger and the
                     the other
                          other purposes
                                purposes described
                                          described inin the
                                                         the offering
                                                             offering materials."
                                                                       materials.”

      C.
      C.      Round Two
              Round Two of
                        of the
                           the Offering
                               Offering

54.
54.   The second round
      The second round of
                       of the
                          the Offering
                              Offering started
                                       started in February 2018
                                               in February 2018 and
                                                                and was
                                                                    was scheduled
                                                                        scheduled to
                                                                                  to end
                                                                                     end in
                                                                                         in
      March 2018
      March 2018 ("Round
                  (“Round Two").
                           Two”).

55.
55.   On March
      On March 29,
                 29, 2018,
                     2018, Defendants
                           Defendants filed
                                      filed aa Form
                                               Form DD noticing
                                                        noticing the
                                                                  the type
                                                                      type of
                                                                            of securities
                                                                               securities offered
                                                                                          offered as
                                                                                                  as
      “purchase  agreements for cryptocurrency”   for amounts
      "purchase agreements for cryptocurrency" for amounts      totaling
                                                                totaling $850
                                                                         $850   million
                                                                                million  from
                                                                                         from  94
                                                                                               94
      investors and
      investors and claiming an exemption
                    claiming an exemption from    the registration
                                           from the   registration requirements    under Rule
                                                                    requirements under    Rule
      506(c) of Regulation
      506(c) of Regulation D
                           D and/or
                              and/or Regulation
                                     Regulation S   of the
                                                 S of  the Securities  Act.
                                                           Securities Act.

56.
56.   This included $39
      This included $39 million
                        million from five U.S.
                                from five U.S. Initial Purchasers.
                                               Initial Purchasers.

57.
57.   Exhibit
      Exhibit JX2 is aa true
              JX2 is    true and
                             and correct
                                 correct copy of the
                                         copy of the March
                                                     March 29,
                                                           29, 2018
                                                               2018 Form
                                                                    Form D.
                                                                         D.

                                                  4
                                                  4
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58.
58.   The Defendants’ Round
      The Defendants'  Round One
                             One and
                                  and Round
                                      Round Two      offers and
                                               Two offers   and sales
                                                                sales of
                                                                      of the
                                                                         the "purchase
                                                                             “purchase
      agreements for
      agreements for cryptocurrency” to the
                     cryptocurrency" to the initial
                                            initial purchasers
                                                    purchasers were
                                                                were not
                                                                      not registered
                                                                          registered with
                                                                                     with the
                                                                                          the
      SEC.
      SEC.

59.
59.   Telegram  has not
      Telegram has  not filed
                        filed any
                              any registration
                                  registration statement
                                               statement with
                                                         with the
                                                              the Commission
                                                                  Commission regarding
                                                                             regarding Grams
                                                                                       Grams
      or the
      or the Purchase
             Purchase Agreements.
                      Agreements.

V.
V.    OFFERING MATERIALS
      OFFERING MATERIALS

60.
60.   Defendants used
      Defendants used the
                      the same
                          same materials
                                materials regarding
                                          regarding the
                                                    the TON
                                                        TON Blockchain
                                                              Blockchain and
                                                                         and Grams
                                                                             Grams with
                                                                                   with U.S.
                                                                                        U.S.
      and non-U.S.
      and non-U.S. purchasers
                   purchasers in
                              in connection  with the
                                 connection with  the Offering.
                                                      Offering.

61.
61.   Together, the following
      Together, the following documents   constitute the
                              documents constitute   the "Round
                                                         “Round OneOne Offering
                                                                       Offering Materials":
                                                                                  Materials”:
      Round One
      Round  One IOI,  the Process
                  IOI, the Process Memorandum,
                                   Memorandum, including      its annexes
                                                   including its  annexes (and
                                                                          (and specifically
                                                                                specifically
      including the
      including the Purchase
                    Purchase Agreements
                              Agreements for
                                          for Round
                                              Round One),
                                                      One), the
                                                             the appendices
                                                                 appendices to
                                                                             to the
                                                                                the Purchase
                                                                                    Purchase
      Agreements for
      Agreements       Round One,
                   for Round  One, the
                                   the Pre-Sale
                                       Pre-Sale Primer,
                                                Primer, the
                                                         the appendices
                                                             appendices to
                                                                         to the
                                                                            the Pre-Sale
                                                                                 Pre-Sale Primer,
                                                                                          Primer,
      including the
      including the Technical White Paper
                    Technical White  Paper and
                                           and the
                                                the Risk
                                                    Risk Factors.
                                                          Factors.

62.
62.   Together, the following
      Together, the following documents  constitute the
                               documents constitute the "Round
                                                        “Round Two
                                                                Two Offering
                                                                      Offering Materials":
                                                                               Materials”:
      Round Two
      Round       IOI, the
             Two IOI,   the Purchase
                            Purchase Agreements
                                     Agreements for
                                                 for Round
                                                     Round Two,
                                                            Two, the
                                                                  the appendices
                                                                      appendices toto the
                                                                                      the
      Purchase Agreements
      Purchase Agreements for    Round Two,
                             for Round       the Stage
                                       Two, the        A Primer,
                                                 Stage A Primer, and
                                                                 and the
                                                                      the appendices
                                                                          appendices toto the
                                                                                          the
      Stage A Primer,
      Stage A Primer, including
                       including the
                                 the Technical
                                     Technical White
                                               White Paper
                                                      Paper and
                                                            and the
                                                                the Risk
                                                                    Risk Factors.
                                                                          Factors.

63.
63.   Together the Round
      Together the Round One
                          One Offering
                               Offering Materials,
                                         Materials, the
                                                    the Round
                                                        Round Two
                                                              Two Offering
                                                                    Offering Materials,
                                                                             Materials, and
                                                                                        and the
                                                                                            the
      Teasers (defined below)
      Teasers (defined below) constitute the "Offering
                              constitute the “Offering Materials."
                                                        Materials.”

64.
64.   The Offering Materials
      The Offering Materials were
                             were sent
                                  sent by
                                       by Telegram to some
                                          Telegram to some potential
                                                           potential and
                                                                     and all
                                                                         all actual
                                                                             actual Initial
                                                                                    Initial
      Purchasers.
      Purchasers.

65.
65.   The Offering Materials
      The Offering Materials were
                             were sent
                                   sent by
                                        by Telegram to potential
                                           Telegram to potential and
                                                                 and actual
                                                                     actual Initial Purchasers
                                                                            Initial Purchasers
      through the use of email or Telegram  Messenger  chats.
      through the use of email or Telegram Messenger chats.

      A.
      A.     Teasers
             Teasers

66.
66.   In
      In late 2017, Defendants
         late 2017, Defendants distributed
                                 distributed to
                                             to some
                                                some prospective
                                                     prospective and
                                                                 and actual
                                                                      actual purchasers
                                                                             purchasers
      promotional materials
      promotional   materials regarding
                              regarding then-contemplated
                                         then-contemplated plans
                                                           plans for
                                                                  for the
                                                                      the Telegram
                                                                          Telegram Open
                                                                                    Open
      Network ("Teasers").
      Network   (“Teasers”).

67.
67.   One of
      One of the
             the Teasers
                 Teasers was
                         was aa two-page
                                two-page document (the "Two
                                         document (the “Two Page
                                                            Page Teaser”).
                                                                 Teaser").

68.
68.   Exhibit
      Exhibit JX3 is aa true
              JX3 is    true and
                             and correct
                                 correct copy of the
                                         copy of the Two Page Teaser.
                                                     Two Page Teaser.

69.
69.   Defendants also
      Defendants  also distributed
                       distributed to
                                   to some
                                      some prospective
                                           prospective and
                                                       and actual
                                                           actual purchasers
                                                                  purchasers aa four-page teaser
                                                                                four-page teaser
      (the "Four
      (the “Four Page
                 Page Teaser").
                       Teaser”).

70.
70.   Exhibit
      Exhibit JX4 is aa true
              JX4 is    true and
                             and correct
                                 correct copy of the
                                         copy of the Four
                                                     Four Page
                                                          Page Teaser.
                                                               Teaser.



                                                55
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      B.
      B.      IOIs
              IOIs

71.
71.   Defendants required
      Defendants   required potential
                             potential first round purchasers
                                       first round  purchasers in
                                                               in the
                                                                  the Offering
                                                                      Offering to
                                                                                to sign
                                                                                   sign aa document
                                                                                           document
      titled "Telegram — Indication of Interest" ("Round One IOI") to indicate their interest
      titled “Telegram  –  Indication of  Interest” (“Round  One   IOI”) to indicate their           in
                                                                                            interest in
      participating in
      participating    the Offering.
                    in the  Offering.

72.
72.   Exhibit
      Exhibit JX5 is aa true
              JX5 is    true and
                             and accurate
                                 accurate copy
                                          copy of
                                               of the
                                                  the Round
                                                      Round One
                                                            One IOI.
                                                                IOI.

73.
73.   Defendants required
      Defendants required potential
                           potential purchasers
                                     purchasers in
                                                 in Round
                                                     Round Two
                                                            Two ofof the
                                                                     the Offering
                                                                         Offering to
                                                                                  to sign
                                                                                     sign aa
      document titled
      document titled "Telegram
                      “Telegram — – Indication  of Interest
                                    Indication of  Interest Stage
                                                            Stage AA of
                                                                     of the
                                                                        the Subsequent
                                                                            Subsequent Sale”
                                                                                        Sale"
      (“Round Two
      ("Round Two IOI”)   to indicate
                    IOI") to          their interest
                             indicate their          in participating
                                            interest in participating in
                                                                      in the
                                                                         the Offering.
                                                                             Offering.

74.
74.   Exhibit
      Exhibit JX6 is aa true
              JX6 is    true and
                             and accurate
                                 accurate copy
                                          copy of
                                               of the
                                                  the Round
                                                      Round Two IOI.
                                                            Two IOI.

      C.
      C.      Primers
              Primers

75.
75.   Telegram   created aa document
      Telegram created      document entitled
                                       entitled "Primer"
                                                “Primer” that
                                                         that it
                                                              it distributed
                                                                 distributed to
                                                                             to some
                                                                                some potential
                                                                                     potential and
                                                                                               and
      all actual
      all actual purchasers
                 purchasers in
                             in late 2017 and
                                late 2017 and early
                                               early 2018.
                                                     2018.

76.
76.   Exhibit
      Exhibit JX7 is aa true
              JX7 is    true and
                             and accurate
                                 accurate copy
                                          copy of
                                               of the
                                                  the Primer.
                                                      Primer.

77.
77.   Telegram   created aa document
      Telegram created      document titled
                                      titled "Pre-Sale
                                             “Pre-Sale Primer,"
                                                       Primer,” dated
                                                                dated January 18, 2018,
                                                                      January 18, 2018, that
                                                                                        that it
                                                                                             it
      distributed to
      distributed to potential
                     potential investors
                               investors in  Round One
                                          in Round One of
                                                        of the
                                                           the Offering.
                                                               Offering.

78.
78.   Telegram attached the
      Telegram attached the Risk
                            Risk Factors
                                 Factors as
                                         as Appendix
                                            Appendix B
                                                     B to
                                                       to the
                                                          the "Pre-Sale
                                                              “Pre-Sale Primer."
                                                                        Primer.”

79.
79.   Exhibit
      Exhibit JX8 is aa true
              JX8 is    true and
                             and correct
                                 correct copy of the
                                         copy of the Pre-Sale
                                                     Pre-Sale Primer
                                                              Primer dated
                                                                     dated January 18, 2018.
                                                                           January 18, 2018.

80.
80.   Telegram   created aa document
      Telegram created      document titled
                                      titled "Stage
                                             “Stage A
                                                    A Primer,"
                                                      Primer,” that
                                                               that it
                                                                    it distributed
                                                                       distributed to
                                                                                   to potential
                                                                                      potential
      investors in
      investors in Round
                   Round Two    of the
                            Two of the Offering.
                                       Offering.

81.
81.   Exhibit
      Exhibit JX9 is aa true
              JX9 is    true and
                             and correct
                                 correct copy of the
                                         copy of the Stage A Primer,
                                                     Stage A Primer, dated
                                                                     dated February
                                                                           February 21,
                                                                                    21, 2018.
                                                                                        2018.

      D.
      D.      The Process
              The Process Memorandum
                          Memorandum

82.
82.   Telegram  distributed aa Process
      Telegram distributed     Process Memorandum
                                       Memorandum for   entering into
                                                    for entering into aa Purchase
                                                                         Purchase Agreement
                                                                                  Agreement for
                                                                                             for
      Grams (the
      Grams  (the "Process
                  “Process Memorandum")
                           Memorandum”) to to certain
                                              certain potential
                                                      potential purchasers
                                                                purchasers that
                                                                            that completed
                                                                                 completed the
                                                                                           the
      Round One
      Round  One IOI.
                  IOI.

83.
83.   The Process Memorandum
      The Process Memorandum was
                               was dated
                                    dated January 18, 2018,
                                          January 18, 2018, and
                                                            and contained
                                                                contained two
                                                                          two annexes:
                                                                              annexes: aa
      KYC Form
      KYC  Form as
                 as Annex
                    Annex A
                          A and
                            and aa Purchase
                                   Purchase Agreement
                                            Agreement as
                                                       as Annex
                                                          Annex B.
                                                                 B.

84.
84.   Exhibit
      Exhibit JX10 is aa true
              JX10 is    true and
                              and accurate
                                  accurate copy
                                           copy of
                                                of the
                                                   the Process
                                                       Process Memorandum
                                                               Memorandum distributed
                                                                          distributed in
                                                                                      in
      connection with
      connection with Round
                       Round One.
                               One.

      E.
      E.      The Purchase
              The          Agreements
                  Purchase Agreements

85.
85.   Exhibit
      Exhibit JX11 is aa true
              JX11 is    true and
                              and correct
                                  correct copy of the
                                          copy of the Purchase
                                                      Purchase Agreement
                                                               Agreement for
                                                                         for Round
                                                                             Round One.
                                                                                   One.

                                                  66
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86.
86.   Exhibit
      Exhibit JX12 is aa true
              JX12 is    true and
                              and correct
                                  correct copy of the
                                          copy of the Purchase
                                                      Purchase Agreement
                                                               Agreement for Round Two.
                                                                         for Round Two.

87.
87.   The Purchase Agreement
      The Purchase Agreement for
                             for Round
                                 Round One
                                       One defined
                                           defined the
                                                   the Purchase
                                                       Purchase Price
                                                                Price as
                                                                      as "USD
                                                                         “USD
      0.37756101 per
      0.37756101 per Token."
                     Token.”

88.
88.   The Purchase Agreements
      The Purchase  Agreements forfor Round
                                      Round One
                                              One of
                                                  of the
                                                     the Offering
                                                         Offering included
                                                                  included aa "Lock-Up"
                                                                              “Lock-Up” clause
                                                                                        clause
      which stated
      which stated that
                   that initial
                        initial purchasers
                                purchasers in Round One
                                           in Round  One could
                                                          could not:
                                                                not:

      (a)
      (a)     offer, pledge,
              offer, pledge, sell,
                              sell, .. .. .. or
                                             or otherwise
                                                otherwise transfer
                                                           transfer or
                                                                    or dispose
                                                                       dispose of,
                                                                               of, directly
                                                                                   directly or
                                                                                            or
              indirectly, the
              indirectly, the investment         contract represented
                               investment contract                     by this
                                                          represented by  this Purchase
                                                                               Purchase
              Agreement or
              Agreement    or any
                              any Tokens
                                    Tokens .. .. .; .; or
                                                       or

      (b)
      (b)     enter into
              enter into any
                          any swap
                              swap or
                                   or other
                                      other agreement
                                            agreement that
                                                      that transfers,
                                                           transfers, in whole or
                                                                      in whole or in
                                                                                  in part,
                                                                                     part,
              any of
              any of the
                      the economic
                          economic consequences
                                    consequences of
                                                  of ownership
                                                     ownership of
                                                                of the
                                                                   the investment
                                                                        investment
              contract represented
              contract  represented by
                                    by this
                                       this Purchase
                                            Purchase Agreement
                                                     Agreement oror any
                                                                    any Tokens,
                                                                         Tokens,

      .. .. .. provided,
               provided, however,
                         however, that:
                                  that:

              (i)
              (i)      one-quarter of
                       one-quarter   of the
                                        the Token
                                            Token Allocation
                                                   Allocation shall
                                                              shall be
                                                                    be released
                                                                        released from
                                                                                 from the
                                                                                      the
                       restrictions in
                       restrictions    this clause
                                    in this clause 10
                                                   10 on
                                                      on the
                                                         the date
                                                             date that
                                                                  that is
                                                                       is three
                                                                          three months
                                                                                months
                       following the
                       following  the Network
                                       Network Launch    Date;
                                                 Launch Date;

              (ii)
              (ii)     one-quarter of
                       one-quarter of the
                                      the Token
                                          Token Allocation
                                                  Allocation (which,  when added
                                                              (which, when    added to
                                                                                     to the
                                                                                        the
                       Tokens released
                       Tokens           under paragraph
                               released under  paragraph (i)
                                                          (i) above,
                                                              above, equals
                                                                     equals one-half
                                                                              one-half of
                                                                                        of the
                                                                                           the
                       Token Allocation)
                       Token  Allocation) shall
                                          shall be
                                                be released
                                                    released from
                                                             from the
                                                                   the restrictions
                                                                       restrictions in this
                                                                                    in this
                       clause 10
                       clause 10 on
                                 on the
                                    the date
                                        date that
                                             that is six months
                                                  is six months following    the Network
                                                                 following the   Network
                       Launch  Date; and
                       Launch Date;  and

              (iii)
              (iii)    one-quarter of
                       one-quarter   of the
                                        the Token
                                            Token Allocation
                                                   Allocation (which,    when added
                                                                (which, when   added to
                                                                                     to the
                                                                                        the
                       Tokens released
                       Tokens             under paragraphs
                                released under  paragraphs (i)
                                                             (i) and
                                                                 and (ii)
                                                                     (ii) above,
                                                                          above, equals
                                                                                 equals three-
                                                                                        three-
                       quarters of
                       quarters  of the
                                    the Token
                                        Token Allocation)
                                               Allocation) shall
                                                            shall be
                                                                   be released
                                                                      released from the
                                                                               from the
                       restriction in
                       restriction in this
                                      this clause 10 on
                                           clause 10 on the
                                                        the date
                                                            date that
                                                                  that is 12 months
                                                                       is 12 months following
                                                                                    following
                       the Network
                       the Network Launch      Date.
                                      Launch Date.

89.
89.   The Purchase Agreement
      The Purchase Agreement for     Round One
                                 for Round  One contained
                                                 contained aa Schedule
                                                              Schedule 22 entitled
                                                                          entitled "Purchaser's
                                                                                   “Purchaser’s
      Warranties” as
      Warranties" as well
                     well as
                          as aa number
                                number of
                                        of "rep
                                           “rep letters"
                                                letters” attached
                                                         attached as
                                                                  as appendices.
                                                                     appendices.

90.
90.   Also attached
      Also attached to
                    to the
                       the Round
                           Round One
                                  One Purchase
                                      Purchase Agreements
                                               Agreements as
                                                           as Appendix
                                                              Appendix AA was
                                                                          was aa Technical
                                                                                 Technical
      White Paper
      White Paper entitled
                   entitled "Telegram
                            “Telegram Open
                                      Open Network"
                                            Network” dated
                                                     dated January 18, 2018,
                                                           January 18, 2018, the
                                                                             the "Technical
                                                                                 “Technical
      White Paper)"
      White Paper)” authored
                     authored by
                               by Nikolai
                                  Nikolai Durov.
                                          Durov.

91.
91.   Exhibit
      Exhibit JX13 is aa true
              JX13 is    true and
                              and accurate
                                  accurate copy
                                           copy of
                                                of the
                                                   the Technical White Paper.
                                                       Technical White Paper.

92.
92.   Telegram distributed Purchase
      Telegram distributed  Purchase Agreements
                                     Agreements to
                                                to certain potential purchasers
                                                   certain potential purchasers that
                                                                                that completed
                                                                                     completed
      the Round
      the Round Two
                Two IOI   (the "Round
                      IOI (the “Round Two  Purchase Agreements").
                                      Two Purchase  Agreements”).

93.
93.   The Round Two
      The Round      Purchase Agreements
                Two Purchase  Agreements did
                                         did not
                                             not contain
                                                 contain the
                                                         the Lock-Up that was
                                                             Lock-Up that was included
                                                                              included in
                                                                                       in
      the Round
      the Round One
                One Purchase
                    Purchase Agreements.
                             Agreements.
                                                    77
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94.
94.    The Round Two
       The Round      Purchase Agreements
                 Two Purchase  Agreements defined
                                          defined the
                                                  the "Purchase
                                                      “Purchase Price"
                                                                Price” as
                                                                       as "USD
                                                                          “USD
       1.33003701 per
       1.33003701 per Token."
                      Token.”

95.
95.    Attached to
       Attached to the
                   the Round
                       Round Two    Purchase Agreements
                              Two Purchase    Agreements as
                                                          as Appendix
                                                             Appendix AA was
                                                                          was aa technical
                                                                                 technical white
                                                                                           white
       paper, which
       paper, which was
                     was identical to the
                         identical to the Technical White Paper
                                          Technical White Paper attached
                                                                attached to
                                                                         to the
                                                                            the Round
                                                                                Round One
                                                                                        One
       Purchase Agreements.
       Purchase Agreements.

96.
96.    The Round One
       The Round  One Purchase
                      Purchase Agreements
                                 Agreements prohibited
                                             prohibited initial
                                                        initial purchasers
                                                                purchasers from
                                                                           from offering
                                                                                 offering the
                                                                                          the
       Purchase Agreements
       Purchase Agreements or
                            or any
                                any Grams
                                    Grams to
                                          to others
                                             others and
                                                    and from
                                                        from publicly
                                                               publicly disclosing
                                                                        disclosing the
                                                                                   the intention
                                                                                       intention
       to make
       to make any
               any such
                   such offers.
                        offers.

97.
97.    The  Round Two
       The Round         Purchase Agreements
                    Two Purchase   Agreements required
                                               required the
                                                        the Round
                                                            Round Two
                                                                   Two initial
                                                                         initial purchasers
                                                                                 purchasers not
                                                                                            not to
                                                                                                to
       disclose the
       disclose the information
                    information provided
                                 provided by
                                          by the
                                             the Defendants
                                                 Defendants to
                                                             to any
                                                                any third
                                                                    third parties
                                                                          parties absent
                                                                                  absent prior
                                                                                         prior
       written consent
       written consent of
                        of the
                           the Defendants.
                               Defendants.

98.
98.    Despite these
       Despite these restrictions
                     restrictions by
                                  by Telegram,
                                     Telegram, the
                                               the Offering
                                                   Offering Materials
                                                            Materials have
                                                                      have become
                                                                           become public.
                                                                                  public.

99.
99.    Certain Offering
       Certain Offering Materials,
                        Materials, including
                                   including the
                                             the Technical
                                                 Technical White
                                                           White Paper,
                                                                  Paper, the
                                                                         the various
                                                                             various Primers
                                                                                      Primers and
                                                                                               and
       the Purchase
       the Purchase Agreements,
                    Agreements, were
                                 were placed
                                       placed on
                                              on the
                                                 the Internet
                                                     Internet and
                                                              and are
                                                                  are accessible
                                                                      accessible to
                                                                                 to the
                                                                                    the public
                                                                                        public at
                                                                                               at
       large.
       large.

       F.
       F.     Risk Factors
              Risk Factors

100.
100.   Attached to
       Attached  to the
                    the Pre-Sale
                        Pre-Sale Primer
                                 Primer as
                                        as Appendix
                                           Appendix B B was
                                                        was aa list
                                                               list of
                                                                    of risk
                                                                       risk factors
                                                                            factors titled
                                                                                    titled "Certain
                                                                                           “Certain
       Risks Associated
       Risks Associated with
                          with the
                               the Purchase,
                                   Purchase, Sale and Use
                                             Sale and Use of
                                                          of Grams"
                                                              Grams” (the
                                                                        (the "Round
                                                                             “Round OneOne Risk
                                                                                            Risk
       Factors”).
       Factors").

101.
101.   Exhibit
       Exhibit JX14 is aa true
               JX14 is    true and
                               and accurate
                                   accurate copy
                                            copy of
                                                 of the
                                                    the Round
                                                        Round One
                                                              One Risk
                                                                  Risk Factors.
                                                                       Factors.

102.
102.   Attached to
       Attached  to the
                    the Stage A Primer
                        Stage A  Primer as
                                        as Appendix
                                           Appendix BB was
                                                       was aa list
                                                              list of
                                                                   of risk
                                                                      risk factors
                                                                           factors titled
                                                                                   titled "Certain
                                                                                          “Certain
       Risks Associated
       Risks Associated with
                          with the
                               the Purchase,
                                   Purchase, Sale and Use
                                             Sale and Use of
                                                          of Grams"
                                                             Grams” (the(the "Round
                                                                             “Round Two     Risk
                                                                                       Two Risk
       Factors”).
       Factors").

103.
103.   Exhibit
       Exhibit JX15 is aa true
               JX15 is    true and
                               and accurate
                                   accurate copy
                                            copy of
                                                 of the
                                                    the Round
                                                        Round Two Risk Factors.
                                                              Two Risk Factors.

104.
104.   The  Round Two
       The Round        Risk Factors
                   Two Risk  Factors were
                                     were substantially
                                          substantially similar
                                                        similar to
                                                                to the
                                                                   the Round
                                                                       Round One
                                                                             One Risk
                                                                                 Risk Factors,
                                                                                      Factors,
       with limited
       with limited changes.
                    changes.

VI.
VI.    KYC PROCESSES
       KYC PROCESSES

105.
105.   Defendants undertook
       Defendants  undertook know-your-customer
                             know-your-customer ("KYC")
                                                (“KYC”) processes
                                                        processes with
                                                                  with respect to the
                                                                       respect to the initial
                                                                                      initial
       purchasers.
       purchasers.

106.
106.   Defendants distributed
       Defendants  distributed KYC
                               KYC Forms
                                   Forms that
                                         that requested
                                              requested various
                                                        various information
                                                                information from all
                                                                            from all
       purchasers.
       purchasers.

107.
107.   Exhibits
       Exhibits JX16  and JX17
                JX16 and       are true
                          JX17 are true and
                                        and accurate
                                            accurate copies
                                                     copies of
                                                            of the
                                                               the KYC
                                                                   KYC Forms
                                                                       Forms distributed
                                                                              distributed
       together with
       together with the
                     the Round
                         Round One
                               One and
                                    and Round
                                         Round Two   Purchase Agreements,
                                               Two Purchase    Agreements, respectively.
                                                                           respectively.
                                                  88
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108.
108.   Defendants engaged
       Defendants   engaged Lawson    Conner Services
                            Lawson Conner     Services Ltd.   (“Lawson Conner"),
                                                        Ltd. ("Lawson   Conner”), aa UK-based
                                                                                      UK-based
       provider of
       provider of regulatory infrastructure and
                   regulatory infrastructure and managed
                                                  managed compliance
                                                             compliance services
                                                                          services and
                                                                                   and software
                                                                                        software to
                                                                                                 to
       review the
       review the KYC
                  KYC Forms
                        Forms submitted
                                submitted for
                                          for all
                                              all the
                                                  the initial
                                                      initial purchasers.
                                                              purchasers. After
                                                                            After Lawson   Conner
                                                                                  Lawson Conner
       conducted its
       conducted      KYC process,
                  its KYC  process, Defendants
                                    Defendants engaged
                                                 engaged Credit
                                                            Credit Suisse  to conduct
                                                                   Suisse to  conduct its own KYC
                                                                                      its own KYC
       process on
       process on the
                  the KYC
                       KYC Forms.
                            Forms.

109.
109.   Defendants also
       Defendants  also distributed
                        distributed "rep
                                    “rep letters” to potential
                                         letters" to potential purchasers
                                                               purchasers ("Rep
                                                                          (“Rep Letters”) as
                                                                                Letters") as
       attachments to
       attachments to the
                      the Purchase
                          Purchase Agreements.
                                     Agreements.

110.
110.   The  Rep Letters
       The Rep           were prepared
                 Letters were   prepared byby U.S.
                                               U.S. or
                                                    or applicable
                                                        applicable local
                                                                    local counsel   and were
                                                                          counsel and   were required
                                                                                              required to
                                                                                                       to
       be completed
       be completed by by each
                          each purchaser
                                purchaser in in respect
                                                respect of
                                                        of each  jurisdiction: (a)
                                                           each jurisdiction:   (a) in
                                                                                    in which
                                                                                       which the
                                                                                             the purchaser
                                                                                                 purchaser
       resided (if
       resided (if the
                   the purchaser
                       purchaser was
                                   was aa natural
                                           natural person),
                                                   person), (b)
                                                             (b) in which the
                                                                 in which   the purchaser
                                                                                purchaser was
                                                                                           was formed
                                                                                                formed (if
                                                                                                        (if
       the purchaser
       the purchaser was
                       was an
                           an entity),
                               entity), (c)  in which
                                        (c) in  which the
                                                       the purchaser
                                                           purchaser oror its
                                                                          its representative(s) received
                                                                              representative(s) received
       the offer
       the offer to
                 to enter
                    enter into the Purchase
                          into the Purchase Agreement,
                                                Agreement, and
                                                             and (d)
                                                                  (d) in
                                                                      in which
                                                                         which the
                                                                                 the purchaser
                                                                                     purchaser or
                                                                                                or its
                                                                                                   its
       representative(s) would
       representative(s)  would place
                                  place its
                                         its buy
                                             buy order.
                                                  order.

111.
111.   The  Rep Letters
       The Rep           covered numerous
                 Letters covered  numerous jurisdictions
                                             jurisdictions and
                                                            and required the purchaser
                                                                required the purchaser to
                                                                                       to represent
                                                                                          represent
       as to
       as to the
             the purchaser's
                 purchaser’s eligibility
                             eligibility to
                                         to participate
                                            participate in
                                                        in the
                                                           the Offering
                                                               Offering pursuant
                                                                        pursuant to
                                                                                 to applicable
                                                                                    applicable local
                                                                                               local
       law.
       law.

112.
112.   Certain of
       Certain of the
                  the Rep
                      Rep Letters required additional
                          Letters required additional supporting
                                                      supporting documentation
                                                                 documentation where
                                                                               where such
                                                                                     such
       supporting documentation
       supporting  documentation was
                                  was required
                                      required under
                                                under applicable
                                                      applicable law.
                                                                 law.

113.
113.   Natural persons
       Natural   persons who
                          who submitted
                               submitted Rep
                                          Rep Letters
                                               Letters for the U.S.
                                                       for the U.S. were
                                                                     were also
                                                                           also required
                                                                                required to
                                                                                         to submit
                                                                                            submit aa
       letter from
       letter from aa specific
                      specific third
                               third party
                                     party verifying
                                           verifying their
                                                     their status
                                                           status as
                                                                  as an
                                                                     an "accredited
                                                                        “accredited investor”  (as
                                                                                     investor" (as
       defined in
       defined   in the
                    the rules
                        rules and
                              and regulations
                                  regulations under
                                              under the
                                                     the Securities  Act).
                                                         Securities Act).

114.
114.   If the
       If the purchaser
              purchaser was
                        was an
                             an entity, the purchaser
                                entity, the purchaser was
                                                       was required
                                                            required toto indicate
                                                                          indicate whether
                                                                                   whether the
                                                                                           the
       purchaser (a)
       purchaser  (a) was
                      was formed
                          formed for  the purpose
                                  for the  purpose of
                                                    of entering
                                                       entering into  the Purchase
                                                                 into the  Purchase Agreement
                                                                                     Agreement or
                                                                                                or (b)
                                                                                                   (b)
       solicited purchasers
       solicited purchasers to
                            to participate
                               participate in
                                            in the
                                               the purchase
                                                   purchase directly
                                                             directly or
                                                                      or indirectly  through an
                                                                          indirectly through an entity
                                                                                                entity
       or otherwise.
       or  otherwise.

115.
115.   If the
       If the purchaser
              purchaser answered
                         answered affirmatively
                                     affirmatively to
                                                   to either
                                                      either question above, the
                                                             question above,  the purchaser
                                                                                  purchaser was
                                                                                            was
       required to
       required  to complete
                    complete and
                               and deliver
                                    deliver to
                                            to Defendants
                                               Defendants aa Rep
                                                             Rep Letter  for each
                                                                  Letter for each person
                                                                                  person that
                                                                                         that held
                                                                                              held an
                                                                                                   an
       equity  or similar interest in the purchaser.
       equity or similar interest in the purchaser.

116.
116.   The  Purchase Agreement
       The Purchase   Agreement provided
                                   provided that
                                             that it “will automatically
                                                  it "will automatically terminate
                                                                         terminate upon
                                                                                      upon the
                                                                                           the earlier
                                                                                               earlier
       of: (a)
       of: (a) the
               the Issuance; (b) the
                   Issuance; (b) the occurrence
                                      occurrence of
                                                  of aa Dissolution
                                                        Dissolution Event  prior to
                                                                    Event prior  to the
                                                                                     the Deadline
                                                                                         Deadline Date
                                                                                                  Date
       (as defined
       (as          below); and
           defined below);  and (c)
                                 (c) 31
                                     31 October
                                        October 2019
                                                 2019 (the
                                                        (the "Deadline
                                                             “Deadline Date"),
                                                                       Date”), ifif the
                                                                                    the Network
                                                                                        Network
       Launch   has not
       Launch has   not occurred
                        occurred as
                                  as of
                                     of such
                                        such date."
                                              date.”

117.
117.   Effective October 23,
       Effective October  23, 2019,
                              2019, Round
                                    Round One
                                           One and
                                               and Round
                                                   Round Two
                                                          Two initial purchasers holding
                                                              initial purchasers  holding aa
       majority of
       majority of Grams
                   Grams consented   to amend
                           consented to amend the
                                              the Purchase
                                                  Purchase Agreements
                                                           Agreements toto extend
                                                                           extend the
                                                                                  the Deadline
                                                                                      Deadline
       Date (as
       Date (as defined
                defined in the Purchase
                        in the Purchase Agreements)
                                         Agreements) from
                                                     from October
                                                          October 31,  2019, to
                                                                  31, 2019,  to April
                                                                                April 30, 2020.
                                                                                      30, 2020.




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VII.
VII.   ADDITIONAL TELEGRAM
       ADDITIONAL TELEGRAM DOCUMENTS
                           DOCUMENTS

118.
118.   Defendants distributed
       Defendants distributed to
                              to various
                                 various prospective
                                         prospective and
                                                     and actual
                                                         actual purchasers
                                                                purchasers other
                                                                           other versions
                                                                                 versions of
                                                                                          of the
                                                                                             the
       Telegram  Open  Network   Technical White  Paper (“White  Papers”), which included
       Telegram Open Network Technical White Paper ("White Papers"), which included the    the
       following White
       following White Papers:
                        Papers:

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network,"
                                                       Network,” dated
                                                                 dated December
                                                                       December 3,
                                                                                3, 2017;
                                                                                   2017;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network
                                                       Network Blockchain,"
                                                               Blockchain,” dated
                                                                            dated September
                                                                                  September 5,
                                                                                            5,
                 2018;
                 2018;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "TON
                                        “TON Development
                                             Development Status,” dated September
                                                         Status," dated September 5, 2018;
                                                                                  5, 2018;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network
                                                       Network Virtual
                                                               Virtual Machine,"
                                                                       Machine,” dated
                                                                                 dated
                 September  5, 2018;
                 September 5, 2018;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "TON
                                        “TON Development
                                             Development Status,” dated January
                                                         Status," dated         28, 2019;
                                                                        January 28, 2019;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network,"
                                                       Network,” dated
                                                                 dated March
                                                                       March 2,
                                                                             2, 2019;
                                                                                2019;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network
                                                       Network Virtual
                                                               Virtual Machine,"
                                                                       Machine,” dated
                                                                                 dated
                 September
                 September 6,  2019;
                            6, 2019;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "TON
                                        “TON Blockchain
                                             Blockchain Validation,"
                                                        Validation,” dated
                                                                     dated October
                                                                           October 2,
                                                                                   2, 2019;
                                                                                      2019;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network
                                                       Network Blockchain,"
                                                               Blockchain,” dated
                                                                            dated October
                                                                                  October 3,
                                                                                          3,
                 2019;
                 2019;

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Fift:
                                        “Fift: A
                                               A Brief
                                                 Brief Introduction,"
                                                       Introduction,” dated
                                                                      dated October
                                                                            October 5, 2019; and
                                                                                    5, 2019; and

            ••   the White
                 the White Paper
                           Paper titled
                                 titled "Telegram
                                        “Telegram Open
                                                  Open Network
                                                       Network Virtual
                                                               Virtual Machine,"
                                                                       Machine,” dated
                                                                                 dated
                 December 12,
                 December  12, 2019.
                               2019.

119.
119.   Exhibits
       Exhibits JX18  through JX28
                JX18 through        are true
                              JX28 are  true and
                                             and correct
                                                 correct copies of the
                                                         copies of the various
                                                                       various White
                                                                               White Papers,
                                                                                     Papers,
       which were
       which were all
                  all authored
                       authored by
                                by Nikolai
                                   Nikolai Durov.
                                           Durov.

120.
120.   Defendants published
       Defendants   published the
                                the March
                                     March 2,2, 2019
                                                2019 "Telegram
                                                      “Telegram Open
                                                                Open Network"
                                                                     Network” White
                                                                              White Paper
                                                                                    Paper online.
                                                                                          online.
       It is publicly
       It is publicly available
                      available at:
                                 at: https://test.ton.org/.
                                     https://test.ton.org/.

VIII. TON
VIII. TON BLOCKCHAIN
          BLOCKCHAIN

       A.
       A.        Fundamentals
                 Fundamentals

121.
121.   The
       The TON Blockchain has
           TON Blockchain has not
                              not launched yet and
                                  launched yet and may
                                                   may never
                                                       never launch.
                                                             launch.

       B.
       B.        Validation
                 Validation

122.
122.   Telegram selected aa "proof-of-stake"
       Telegram selected    “proof-of-stake” consensus
                                             consensus mechanism
                                                       mechanism for
                                                                 for the
                                                                     the TON Blockchain.
                                                                         TON Blockchain.
                                                 10
                                                 10
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123.
123.   Validators for
       Validators     the proposed
                  for the proposed TON   Blockchain will
                                   TON Blockchain   will be
                                                          be required  to validate
                                                             required to  validate proposed
                                                                                   proposed
       blocks, perform
       blocks, perform computations
                        computations for
                                     for smart
                                         smart contracts,
                                               contracts, and
                                                          and digitally
                                                               digitally sign
                                                                         sign valid
                                                                              valid blocks.
                                                                                    blocks.

124.
124.   Telegram   has stated
       Telegram has   stated its
                             its intention
                                 intention for  the TON
                                           for the        Blockchain to
                                                    TON Blockchain    to be
                                                                         be decentralized,
                                                                            decentralized, such
                                                                                           such that
                                                                                                that it
                                                                                                     it
       will allow
       will allow validators
                  validators to
                              to aggregate
                                 aggregate stakes
                                            stakes to
                                                    to foster
                                                       foster decentralization
                                                              decentralization by
                                                                               by promoting
                                                                                  promoting
       involvement by
       involvement   by aa broader
                           broader group   of stakeholders.
                                    group of  stakeholders.

125.
125.   At launch,
       At launch, Gram  holders who
                  Gram holders   who wish
                                      wish to
                                           to be
                                              be validators
                                                 validators must
                                                            must "stake"
                                                                  “stake” aa minimum
                                                                             minimum of
                                                                                      of 100,000
                                                                                         100,000
       Grams. Following
       Grams.  Following launch,
                           launch, that
                                   that minimum
                                        minimum number
                                                  number is
                                                          is aa configurable
                                                                configurable parameter
                                                                             parameter that
                                                                                       that can
                                                                                            can be
                                                                                                be
       changed by  vote of the validators.
       changed by vote of the validators.

126.
126.   Once every
       Once         validation period,
             every validation    period, any
                                           any Gram
                                               Gram holder
                                                      holder or
                                                              or group
                                                                 group of
                                                                       of Gram
                                                                          Gram holders    seeking to
                                                                                 holders seeking  to be
                                                                                                     be aa
       validator for
       validator for the
                      the next
                          next validation
                                validation period
                                             period can
                                                    can stake
                                                         stake the
                                                               the minimum
                                                                   minimum number
                                                                              number ofof Grams
                                                                                          Grams required
                                                                                                 required
       to be
       to be eligible
             eligible for  selection as
                       for selection  as aa validator
                                            validator for the next
                                                      for the next period.
                                                                   period. The
                                                                            The TON
                                                                                 TON Blockchain
                                                                                       Blockchain will
                                                                                                   will
       automatically and
       automatically    and randomly
                            randomly select
                                        select aa predetermined
                                                  predetermined number
                                                                  number ofof validators
                                                                              validators from amongst
                                                                                         from amongst
       those stakeholders
       those stakeholders forfor that
                                 that period.
                                      period.

127.
127.   Validators who
       Validators who correctly
                      correctly validate
                                validate aa block
                                            block will
                                                  will automatically
                                                       automatically be
                                                                     be rewarded
                                                                        rewarded with
                                                                                 with newly
                                                                                      newly
       minted, system-generated
       minted, system-generated Grams.
                                 Grams.

128.
128.   If validators
       If validators incorrectly
                     incorrectly validate
                                 validate aa block,
                                             block, they
                                                    they will
                                                         will automatically
                                                               automatically lose
                                                                             lose part
                                                                                  part of
                                                                                       of their
                                                                                          their stake
                                                                                                stake
       and will
       and  will be
                 be temporarily
                    temporarily suspended
                                 suspended from
                                              from acting
                                                   acting as
                                                          as aa validator.
                                                                validator.

129.
129.   Based on
       Based  on these
                 these validation
                       validation efforts, Telegram expects
                                  efforts, Telegram          that the
                                                     expects that the supply
                                                                      supply of
                                                                             of Grams will
                                                                                Grams will
       increase by
       increase by approximately
                   approximately 2%2% annually
                                       annually as
                                                 as newly
                                                    newly minted
                                                          minted Grams   are automatically
                                                                   Grams are automatically
       generated and
       generated  and paid
                      paid to
                           to validators.
                              validators.

       C.
       C.      Beta Test
               Beta Test

130.
130.   Prior to
       Prior to the
                the launch  of the
                    launch of  the production
                                   production version
                                               version of
                                                       of the
                                                          the TON
                                                              TON Blockchain,
                                                                  Blockchain, Telegram
                                                                              Telegram made
                                                                                        made
       publicly  available a test version of the TON  Blockchain (the “Beta Test Version”).
       publicly available a test version of the TON Blockchain (the "Beta Test Version").

131.
131.   Telegram  began rolling
       Telegram began  rolling out
                               out the
                                   the Beta
                                       Beta Test Version in
                                            Test Version    March 2019
                                                         in March 2019 and
                                                                       and gradually
                                                                           gradually added
                                                                                     added
       information over
       information over time
                        time until
                             until early
                                   early September 2019.
                                         September 2019.

132.
132.   Telegram completed rolling
       Telegram completed         out of
                          rolling out of the
                                         the Beta
                                             Beta Test Version in
                                                  Test Version in early
                                                                  early September 2019.
                                                                        September 2019.

133.
133.   The  Beta Test
       The Beta  Test Version
                      Version enables
                               enables third-party
                                       third-party developers
                                                    developers to
                                                                to view
                                                                   view the
                                                                        the TON
                                                                            TON Blockchain's
                                                                                  Blockchain’s
       open-source code
       open-source        and to
                    code and  to develop
                                 develop and
                                         and test
                                              test certain
                                                   certain applications
                                                           applications and
                                                                        and interfaces that may
                                                                            interfaces that may be
                                                                                                be
       offered when
       offered when the
                     the production
                         production version
                                    version of
                                             of the
                                                the TON
                                                     TON Blockchain
                                                           Blockchain launches.
                                                                       launches.

134.
134.   The  Beta Test
       The Beta   Test Version
                        Version is
                                is currently publicly available
                                   currently publicly available at
                                                                at the
                                                                   the following domain:
                                                                       following domain:
       https://test.ton.org/download.html.
       https://test.ton.org/download.html.

135.
135.   The  website includes
       The website  includes open
                              open source
                                    source code
                                           code and
                                                and step-by-step
                                                    step-by-step instructions regarding how
                                                                 instructions regarding     to
                                                                                        how to
       create and
       create and test
                  test applications
                       applications and
                                    and smart
                                        smart contracts
                                              contracts on
                                                        on the
                                                           the TON
                                                               TON Blockchain.
                                                                     Blockchain.



                                                   11
                                                   11
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136.
136.   Anyone in
       Anyone   in the
                   the world
                       world can
                             can access
                                 access the
                                         the code
                                              code and
                                                   and follow the instructions
                                                       follow the              to build
                                                                  instructions to build and
                                                                                        and test
                                                                                            test
       smart contracts
       smart contracts and
                        and applications
                            applications for
                                          for the
                                              the TON  Blockchain, as
                                                  TON Blockchain,   as well
                                                                       well as
                                                                            as learn about the
                                                                               learn about the
       process to
       process to become
                  become aa TON   validator.
                             TON validator.

137.
137.   Telegram’s current intention
       Telegram's current           is to
                          intention is to continue the Beta
                                          continue the Beta Test
                                                            Test Version
                                                                 Version until
                                                                         until the
                                                                               the launch date.
                                                                                   launch date.

       D.
       D.      Contemplated Launch and
               Contemplated Launch and Creation of Grams
                                       Creation of Grams

138.
138.   Telegram contemplated that
       Telegram contemplated that the
                                  the initial
                                      initial supply
                                              supply of
                                                     of Grams would be
                                                        Grams would be set
                                                                       set at
                                                                           at 55 billion.
                                                                                 billion.

139.
139.   From at
       From at least the initiation
               least the initiation of
                                    of the
                                       the Offering,
                                           Offering, Defendants
                                                     Defendants have
                                                                  have hoped
                                                                       hoped that,
                                                                              that, after
                                                                                    after launch,
                                                                                          launch,
       Grams will
       Grams will achieve
                  achieve aa wide
                              wide user
                                    user base,
                                         base, beyond
                                               beyond the
                                                       the initial
                                                           initial purchasers
                                                                   purchasers in the Offering.
                                                                              in the Offering.

140.
140.   Telegram informed the
       Telegram informed the initial
                             initial purchasers
                                     purchasers that
                                                that it hoped to
                                                     it hoped to integrate
                                                                 integrate the
                                                                           the TON   Wallet into
                                                                               TON Wallet   into
       Telegram Messenger in
       Telegram Messenger     part to
                           in part to encourage
                                      encourage aa wide
                                                   wide adoption
                                                         adoption of
                                                                   of Grams  after launch.
                                                                      Grams after  launch.

141.
141.   Grams must
       Grams must bebe widely
                       widely adopted
                              adopted if they are
                                      if they are to
                                                  to achieve
                                                     achieve Telegram's
                                                             Telegram’s stated
                                                                        stated goal that they
                                                                               goal that they
       become aa "truly
       become    “truly mass-market
                        mass-market cryptocurrency.”
                                    cryptocurrency."

142.
142.   Telegram  anticipates that,
       Telegram anticipates  that, after
                                   after launch,
                                         launch, the
                                                  the wide
                                                      wide adoption
                                                           adoption of
                                                                    of Grams  by the
                                                                       Grams by   the marketplace
                                                                                      marketplace
       may  be accomplished   in part by  the sale of Grams  by some of the initial purchasers
       may be accomplished in part by the sale of Grams by some of the initial purchasers to   to the
                                                                                                  the
       public.
       public.

       E.
       E.      Reference Price
               Reference Price

143.
143.   The “Reference Price"
       The "Reference  Price” of
                              of Grams
                                 Grams that
                                        that Defendants
                                             Defendants expect
                                                           expect at
                                                                   at the
                                                                      the launch
                                                                          launch of
                                                                                 of the
                                                                                    the TON
                                                                                        TON
       Blockchain is
       Blockchain is $3.62475487
                     $3.62475487 according
                                   according to
                                              to aa formula  set forth in Appendix   A to
                                                    formula set forth in Appendix A to thethe
       Technical White Paper
       Technical White  Paper (the
                              (the "Reference
                                   “Reference Price
                                                Price formula").
                                                       formula”).

144.
144.   The  “Reference Price"
       The "Reference    Price” ofof aa Gram   at the
                                         Gram at  the beginning
                                                      beginning of
                                                                 of each round of
                                                                    each round of the
                                                                                  the Offering
                                                                                      Offering was
                                                                                               was
       computed as:
       computed   as: 0.1  * en*io^-9,
                       0.1 * e n*10^-9
                                       , where
                                         where n
                                               n denotes  the total
                                                 denotes the  total number
                                                                    number of
                                                                           of Grams
                                                                              Grams subscribed
                                                                                      subscribed for
                                                                                                 for
       prior to
       prior to that
                that stage.
                     stage.

145.
145.   The price of
       The price of Grams
                    Grams subscribed
                            subscribed for
                                       for in
                                           in each round of
                                              each round of the
                                                            the Offering
                                                                Offering was
                                                                         was calculated
                                                                             calculated as:
                                                                                        as: (Total
                                                                                            (Total
       $ Value
       $ Value Raised)
               Raised) // (Total
                          (Total Number
                                 Number of
                                         of Grams
                                             Grams Subscribed   For).
                                                    Subscribed For).

146.
146.   The “Total Number
       The "Total Number ofof Grams
                              Grams Subscribed   For” was
                                      Subscribed For"  was calculated
                                                           calculated as (109) *
                                                                      as (109)  * IIn(1
                                                                                    n(1 +
                                                                                        + (Total
                                                                                          (Total $
                                                                                                 $
                         9
       Value Raised)/((109)
       Value Raised)/((10 ) *
                            * Pn)
                              Pn) ),
                                  ), where
                                     where Pn
                                           Pn denotes
                                              denotes the
                                                      the Reference
                                                          Reference Price
                                                                    Price of
                                                                           of aa Gram.
                                                                                 Gram.

147.
147.   Defendants informed
       Defendants   informed some
                               some potential
                                     potential and
                                               and all
                                                   all actual
                                                       actual investors that they
                                                              investors that they intended
                                                                                  intended toto
       establish an
       establish an entity
                     entity called the TON
                            called the TON Foundation,
                                            Foundation, which,
                                                          which, if
                                                                 if established, will be
                                                                    established, will be aa not-for-
                                                                                            not-for-
       profit organization.
       profit organization.

148.
148.   Defendants informed
       Defendants informed some
                           some potential
                                potential and
                                          and all
                                              all actual
                                                  actual investors that they
                                                         investors that they may
                                                                             may never
                                                                                 never establish
                                                                                       establish
       the TON
       the     Foundation.
           TON Foundation.

149.
149.   Defendants have
       Defendants have not  yet determined
                       not yet  determined the
                                           the details
                                               details of
                                                       of the
                                                          the TON  Foundation and
                                                              TON Foundation  and have
                                                                                  have
       communicated to
       communicated  to the
                        the public
                            public on
                                    on January
                                       January 6, 2020, that
                                               6, 2020, that the
                                                             the TON
                                                                 TON Foundation
                                                                     Foundation will
                                                                                will not
                                                                                     not be
                                                                                         be
                                                  12
                                                  12
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       established at
       established at the
                      the launch of the
                          launch of the TON Blockchain and
                                        TON Blockchain and may
                                                           may never
                                                               never be
                                                                     be established
                                                                        established in
                                                                                    in the
                                                                                       the
       future.
       future.

150.
150.   If the
       If the TON
              TON Foundation
                   Foundation isis established, Telegram currently
                                   established, Telegram currently intends
                                                                    intends to
                                                                            to make
                                                                               make an
                                                                                    an initial
                                                                                       initial
       capital contribution
       capital contribution to
                            to the
                               the TON   Foundation of
                                   TON Foundation    of $5
                                                        $5 million.
                                                           million.

151.
151.   If the
       If the TON
              TON Foundation
                   Foundation is
                              is established, the TON
                                 established, the     Foundation’s mission
                                                  TON Foundation's mission will
                                                                           will be
                                                                                be to
                                                                                   to promote
                                                                                      promote
       and support
       and  support the
                    the TON Blockchain.
                        TON Blockchain.

152.
152.   If the
       If the TON
              TON Foundation
                    Foundation isis established, as currently
                                    established, as currently contemplated, the TON
                                                              contemplated, the TON Foundation
                                                                                     Foundation
       would   have the ability to sell Grams  under  certain circumstances through the
       would have the ability to sell Grams under certain circumstances through the TON TON
       Reserve.
       Reserve.

153.
153.   If the
       If the TON
              TON Foundation
                   Foundation isis established, as currently
                                   established, as currently contemplated, the TON
                                                             contemplated, the TON Foundation
                                                                                    Foundation
       will be
       will be directed
               directed by
                        by aa board
                              board of
                                    of directors
                                       directors called
                                                 called the
                                                        the TON  Foundation Board.
                                                            TON Foundation   Board.

154.
154.   If the
       If the TON
              TON Foundation
                    Foundation isis established,
                                    established, Telegram
                                                 Telegram currently
                                                              currently intends  that the
                                                                        intends that  the TON
                                                                                          TON
       Foundation Board
       Foundation   Board will
                           will be
                                be made
                                     made up
                                           up of
                                              of five
                                                 five initial
                                                      initial members:
                                                              members: (1)(1) Pavel
                                                                              Pavel Durov,
                                                                                    Durov, (2)
                                                                                            (2) Nikolai
                                                                                                 Nikolai
       Durov; and
       Durov;   and (3)
                    (3) three
                        three independent   directors with
                              independent directors    with no
                                                             no connection
                                                                 connection toto Telegram  or its
                                                                                 Telegram or  its
       affiliates with
       affiliates with experience
                       experience inin blockchain
                                       blockchain technology
                                                   technology and/or
                                                                 and/or TON.
                                                                         TON.

155.
155.   If the
       If the TON
              TON Foundation
                  Foundation is established, as
                             is established, as currently
                                                currently contemplated, the "TON
                                                          contemplated, the “TON Foundation"
                                                                                 Foundation”
       will manage
       will manage the
                   the "TON
                       “TON Reserve"
                             Reserve” and
                                        and the
                                            the incentives pool.
                                                incentives pool.

156.
156.   As currently
       As currently contemplated,
                    contemplated, the
                                  the "TON
                                      “TON Reserve"
                                           Reserve” is
                                                    is the
                                                       the supply
                                                           supply of
                                                                  of Grams
                                                                     Grams reserved
                                                                           reserved for sale
                                                                                    for sale
       by the
       by the TON   Foundation.
              TON Foundation.

157.
157.   As currently
       As currently contemplated,
                    contemplated, the
                                  the "Incentives
                                      “Incentives Pool"
                                                  Pool” is  the supply
                                                         is the supply of
                                                                       of Grams reserved for
                                                                          Grams reserved for
       incentive payments
       incentive payments to
                          to be
                             be made
                                made to
                                      to promote
                                         promote the
                                                  the consumptive
                                                      consumptive use
                                                                    use of
                                                                        of Grams.
                                                                           Grams.

158.
158.    As currently
       As   currently contemplated,
                      contemplated, Defendants
                                    Defendants will
                                               will allocate
                                                    allocate 4%
                                                             4% of
                                                                 of the
                                                                    the initial supply of
                                                                        initial supply of Grams
                                                                                          Grams to
                                                                                                to
       aa "developer
          “developer pool"
                      pool” of
                            of Telegram's
                               Telegram’s employees
                                          employees at
                                                     at the
                                                        the launch of the
                                                            launch of the TON    Blockchain.
                                                                          TON Blockchain.

159.
159.   Pavel and
       Pavel  and Nikolai
                  Nikolai Durov
                             Durov are
                                    are currently
                                        currently anticipated
                                                  anticipated to
                                                              to each receive 1%
                                                                 each receive  1% —— or
                                                                                      or 50,000,000
                                                                                         50,000,000
       — of
          of the
             the initial
                 initial 55 billion
                            billion Grams
                                    Grams from
                                           from the
                                                 the developer
                                                     developer pool
                                                                pool at
                                                                     at the
                                                                        the launch
                                                                            launch of
                                                                                   of the
                                                                                      the TON
                                                                                          TON
       Blockchain.
       Blockchain.

160.
160.   Though no fmal
       Though no  final determination
                        determination has
                                      has been
                                          been made,
                                               made, Telegram
                                                      Telegram has
                                                                has previously
                                                                     previously stated
                                                                                 stated that
                                                                                        that the
                                                                                             the
       developer pool would  have a four-year lock-up period restricting the sale of Grams
       developer pool would have a four-year lock-up period restricting the sale of Grams by by
       developer pool
       developer pool recipients.
                      recipients.

161.
161.   Telegram    informed the
       Telegram informed       the public
                                   public on
                                           on January
                                              January 6,   2020 that
                                                        6, 2020  that Pavel
                                                                      Pavel Durov,
                                                                             Durov, Nikolai
                                                                                      Nikolai Durov,
                                                                                              Durov, and
                                                                                                      and
       all Telegram
       all Telegram employees       may, but
                       employees may,     but are
                                               are not
                                                   not committed
                                                       committed to,to, holding
                                                                        holding any
                                                                                 any Grams
                                                                                      Grams following    the
                                                                                             following the
       launch of
       launch   of the
                   the TON
                       TON Blockchain.
                              Blockchain. Telegram
                                             Telegram hashas informed
                                                             informed thethe public
                                                                             public on
                                                                                    on January
                                                                                       January 6,  2020
                                                                                                6, 2020
       that, to
       that, to the
                the extent
                    extent Pavel
                             Pavel Durov,
                                   Durov, Nikolai
                                            Nikolai Durov
                                                     Durov oror any
                                                                any Telegram     employee holds
                                                                     Telegram employee     holds any
                                                                                                  any
       Grams following
       Grams    following launch
                            launch of
                                    of the
                                       the TON    Blockchain, they
                                            TON Blockchain,     they will
                                                                      will not
                                                                            not be
                                                                                be allowed
                                                                                   allowed to
                                                                                           to take
                                                                                              take part
                                                                                                    part in
                                                                                                         in
       any voting
       any  voting or
                    or validating
                        validating activities
                                    activities on
                                               on the
                                                  the TON
                                                       TON Blockchain.
                                                             Blockchain.

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                                                    13
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162.
162.   As currently
       As currently contemplated,
                     contemplated, after
                                     after the
                                           the TON   Blockchain launches,
                                               TON Blockchain   launches, Defendants
                                                                           Defendants may
                                                                                        may allocate
                                                                                            allocate
       28% of
       28%  of the
               the initial supply of
                   initial supply of Grams
                                     Grams toto the
                                                the TON  Foundation, if
                                                    TON Foundation,  if it
                                                                        it is
                                                                           is established.
                                                                              established.

163.
163.   As currently
       As  currently contemplated,
                      contemplated, after
                                       after the
                                             the TON    Blockchain launches,
                                                 TON Blockchain      launches, Defendants
                                                                                Defendants will
                                                                                             will allocate
                                                                                                  allocate
       10% of
       10%   of the
                the initial supply of
                    initial supply  of Grams
                                       Grams to to the
                                                   the "Incentives
                                                       “Incentives Pool,"
                                                                    Pool,” to
                                                                            to be
                                                                               be given  out or
                                                                                  given out  or distributed
                                                                                                distributed
       in small
       in small amounts
                 amounts to to Gram
                               Gram users
                                      users to
                                            to promote
                                               promote the
                                                         the consumptive
                                                              consumptive useuse of
                                                                                 of Grams.
                                                                                    Grams. Defendants
                                                                                             Defendants
       intend to
       intend  to distribute
                  distribute these
                              these Grams
                                    Grams toto Messenger
                                                Messenger users
                                                             users upon
                                                                   upon their
                                                                         their distribution of Grams
                                                                               distribution of Grams toto
       initial purchasers
       initial purchasers upon
                            upon or
                                  or shortly
                                     shortly following
                                              following the
                                                          the launch  of the
                                                              launch of  the TON
                                                                             TON Blockchain.
                                                                                    Blockchain.

164.
164.   Telegram    told some
       Telegram told    some potential
                              potential and
                                        and all
                                            all actual
                                                actual purchasers
                                                       purchasers that
                                                                   that the
                                                                        the TON
                                                                            TON Foundation,
                                                                                 Foundation, could,
                                                                                             could,
       in its
       in its discretion,
              discretion, buy
                          buy and
                              and sell
                                  sell Grams   after launch
                                       Grams after   launch at
                                                            at prices
                                                               prices dictated
                                                                      dictated by
                                                                               by the
                                                                                  the Reference
                                                                                      Reference Price
                                                                                                Price
       formula.
       formula.

165.
165.   Defendants told
       Defendants  told potential
                        potential and
                                  and actual
                                      actual purchasers
                                             purchasers that
                                                         that the
                                                              the TON   Foundation’s discretionary
                                                                  TON Foundation's     discretionary
       purchase or
       purchase or sale
                   sale of
                        of Grams   was intended
                           Grams was   intended to
                                                to limit
                                                   limit fluctuations  in the
                                                          fluctuations in the price
                                                                              price of
                                                                                    of Grams.
                                                                                       Grams.

166.
166.   Telegram   told some
       Telegram told   some potential
                               potential and
                                           and all
                                               all actual
                                                   actual purchasers
                                                          purchasers inin the
                                                                          the Offering
                                                                              Offering Materials
                                                                                        Materials that
                                                                                                  that the
                                                                                                       the
       TON   Foundation could,
       TON Foundation       could, in  its discretion,
                                   in its  discretion, sell
                                                       sell Grams
                                                            Grams allocated
                                                                    allocated to
                                                                               to or
                                                                                  or owned
                                                                                     owned by
                                                                                           by it after
                                                                                              it after
       launch at
       launch at aa price
                    price not
                           not less
                               less than
                                    than the
                                           the Reference
                                               Reference Price
                                                           Price of
                                                                 of Grams
                                                                    Grams as as derived
                                                                                derived from the
                                                                                        from the
       Reference Price
       Reference   Price formula
                          formula if   the market
                                    if the  market price
                                                    price of
                                                          of Grams
                                                             Grams rose
                                                                     rose above
                                                                           above the
                                                                                  the Reference
                                                                                      Reference Price
                                                                                                 Price at
                                                                                                        at
       the time
       the time of
                of such
                    such sales.
                          sales.

167.
167.   Telegram    told some
       Telegram told    some potential
                                potential and
                                            and all
                                                all actual
                                                    actual purchasers
                                                           purchasers in
                                                                       in the
                                                                          the Offering
                                                                              Offering Materials
                                                                                        Materials that
                                                                                                     that the
                                                                                                          the
       TON   Foundation could,
       TON Foundation        could, in  its discretion,
                                    in its  discretion, buy
                                                        buy Grams
                                                            Grams allocated
                                                                    allocated to
                                                                               to or
                                                                                  or owned
                                                                                     owned byby it  after
                                                                                                 it after
       launch at
       launch  at aa price
                     price not
                            not less
                                less than
                                     than half
                                            half the
                                                 the Reference
                                                     Reference Price
                                                                Price of
                                                                      of Grams
                                                                          Grams asas derived
                                                                                     derived from
                                                                                              from thethe
       Reference Price
       Reference    Price formula
                           formula if   the market
                                     if the  market price
                                                     price of
                                                           of Grams
                                                              Grams dropped
                                                                     dropped below
                                                                               below half
                                                                                       half the
                                                                                            the Reference
                                                                                                Reference
       Price at
       Price at the
                the time
                     time ofof such
                               such sales.
                                     sales.

168.
168.   After the
       After the Offering
                 Offering was
                           was completed,
                               completed, and
                                          and after
                                              after consultation
                                                    consultation with
                                                                 with the
                                                                      the SEC, Defendants
                                                                          SEC, Defendants
       determined not
       determined  not to
                       to allow
                          allow the
                                the TON
                                    TON Foundation
                                        Foundation toto purchase
                                                        purchase Grams.
                                                                 Grams.

169.
169.   As currently
       As  currently contemplated
                      contemplated byby Defendants,
                                         Defendants, upon
                                                      upon their
                                                            their launch,
                                                                  launch, the
                                                                           the Grams
                                                                               Grams will
                                                                                        will not
                                                                                             not have
                                                                                                  have any
                                                                                                       any
       restrictive legends
       restrictive legends regarding
                            regarding transfer
                                       transfer or
                                                or resale of the
                                                   resale of the Grams
                                                                 Grams by by the
                                                                             the Initial  Purchasers or
                                                                                  Initial Purchasers  or
       any subsequent
       any  subsequent holders
                         holders of
                                 of the
                                    the Grams   to the
                                         Grams to  the public
                                                       public and
                                                               and will
                                                                    will not
                                                                         not be
                                                                             be restricted
                                                                                 restricted from   being
                                                                                            from being
       transferred in
       transferred     any amounts,
                    in any amounts, other
                                      other than
                                            than as
                                                 as provided
                                                    provided byby the
                                                                  the lock-up   agreements in
                                                                      lock-up agreements      in the
                                                                                                 the
       Round One
       Round    One Purchase
                     Purchase Agreements.
                               Agreements.

170.
170.   Following the
       Following  the launch
                      launch of
                             of the
                                the TON   Blockchain, the
                                    TON Blockchain,   the free market price
                                                          free market price of
                                                                            of Grams
                                                                               Grams will
                                                                                     will be
                                                                                          be
       subject to
       subject to market
                  market forces
                         forces of
                                of supply
                                   supply and
                                          and demand.
                                              demand.

171.
171.   The  Reference Price
       The Reference   Price of
                             of Grams
                                Grams does not dictate
                                      does not dictate the
                                                       the free market price
                                                           free market price of
                                                                             of Grams
                                                                                Grams following
                                                                                      following
       the launch
       the        of the
           launch of the TON   Blockchain.
                         TON Blockchain.

172.
172.   Telegram
       Telegram maymay develop
                       develop TON     Blockchain applications
                                TON Blockchain      applications after
                                                                  after the
                                                                         the launch
                                                                             launch of
                                                                                     of the
                                                                                        the TON
                                                                                            TON
       Blockchain. However,
       Blockchain.    However, Telegram
                                Telegram issued
                                           issued aa statement
                                                     statement to
                                                                to the
                                                                   the public
                                                                         public on
                                                                                on January
                                                                                   January 6,  2020 that
                                                                                            6, 2020   that
       it is
       it    under no
          is under no obligation
                      obligation or
                                  or commitment
                                     commitment toto develop
                                                      develop any
                                                               any applications
                                                                    applications after
                                                                                   after launch  of the
                                                                                         launch of  the
       TON    Blockchain. The
       TON Blockchain.     The Offering
                                Offering Materials
                                          Materials do
                                                     do not
                                                         not explicitly   require Telegram
                                                             explicitly require   Telegram toto establish
                                                                                                establish
       the TON
       the       Foundation or
             TON Foundation   or transfer
                                 transfer any
                                          any money
                                              money or or Grams
                                                          Grams toto it.
                                                                     it.
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                                                 14
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173.
173.   The Offering Materials
       The Offering Materials do
                               do not
                                  not explicitly obligate Telegram
                                      explicitly obligate Telegram to
                                                                   to distribute
                                                                      distribute any
                                                                                 any Grams
                                                                                     Grams to
                                                                                           to
       Messenger users
       Messenger  users at
                        at any
                           any time.
                               time.

174.
174.   If the
       If the TON
              TON Foundation
                   Foundation is
                               is established, as currently
                                  established, as currently contemplated,  the TON
                                                             contemplated, the TON Foundation
                                                                                   Foundation is
                                                                                              is
       expected to
       expected to publish
                   publish guidance   and research
                           guidance and   research results  regarding the
                                                    results regarding the TON  Blockchain’s
                                                                          TON Blockchain's
       development and
       development  and policy.
                         policy.

175.
175.   FinCEN has
       FinCEN   has stated
                     stated that
                            that it
                                 it considers
                                    considers TON
                                              TON Issuer
                                                    Issuer Inc
                                                           Inc to
                                                                to be
                                                                   be aa Money
                                                                         Money Services Business
                                                                               Services Business
       subject to
       subject to the
                  the Bank
                      Bank Secrecy    Act in
                             Secrecy Act     relation to
                                          in relation to the
                                                         the issuance
                                                             issuance ofof Grams.
                                                                           Grams.

176.
176.   As aa result,
       As    result, TON Issuer Inc
                     TON Issuer Inc registered
                                    registered with
                                               with FinCEN
                                                    FinCEN as
                                                           as aa Money
                                                                 Money Services Business in
                                                                       Services Business    the
                                                                                         in the
       U.S. on
       U.S.  on August
                August 30,
                       30, 2019.
                           2019.

IX.
IX.    OTHER PERSONS
       OTHER PERSONS

177.
177.   TON  Ventures L.P.,
       TON Ventures   L.P., TON
                            TON Ventures
                                  Ventures Ltd,  and TON
                                            Ltd, and TON Venture
                                                            Venture Studio
                                                                    Studio Ltd. (“TON
                                                                           Ltd. ("TON
       Ventures”) are
       Ventures") are three
                      three British
                            British Virgin
                                    Virgin Islands
                                           Islands entities
                                                   entities formed
                                                            formed in October 2018.
                                                                   in October 2018.

178.
178.   On April
       On  April 5, 2019, Pavel
                 5, 2019,  Pavel signed,
                                  signed, on
                                           on behalf
                                               behalf of
                                                      of TON   Issuer Inc,
                                                         TON Issuer   Inc, aa non-exclusive,
                                                                              non-exclusive, non-
                                                                                              non-
       transferable, royalty-free licensing agreement with TON Ventures that permitted TON
       transferable,  royalty-free licensing   agreement  with  TON   Ventures   that permitted TON
       Ventures to
       Ventures  to use
                    use the
                         the "TON"
                             “TON” licensed     mark solely
                                      licensed mark   solely for
                                                             for the
                                                                 the purpose
                                                                     purpose ofof making
                                                                                  making portfolio
                                                                                          portfolio
       investments in
       investments   in projects
                        projects connected
                                 connected with
                                              with the
                                                   the TON
                                                       TON Blockchain,
                                                             Blockchain, and
                                                                           and any
                                                                                any marketing
                                                                                     marketing and
                                                                                                and
       business materials,
       business materials, subject
                             subject to
                                     to the
                                         the terms
                                             terms and
                                                   and conditions  set forth
                                                       conditions set         in the
                                                                       forth in  the agreement.
                                                                                     agreement.

179.
179.   Defendants believe
       Defendants believe that
                          that Alexander
                               Alexander Filatov
                                         Filatov is
                                                 is the
                                                    the CEO
                                                        CEO and
                                                            and co-owner
                                                                co-owner of
                                                                         of TON
                                                                            TON Labs.
                                                                                Labs.

180.
180.   According to
       According   to its
                      its website,
                          website, http://tonlabs.io,
                                   http://tonlabs.io, TON
                                                      TON Labs
                                                           Labs is “focused on
                                                                is "focused on developing
                                                                               developing core
                                                                                          core
       infrastructure and
       infrastructure  and open
                           open source
                                source ecosystem
                                         ecosystem for
                                                     for TON (Telegram Open
                                                         TON (Telegram   Open Network)."
                                                                               Network).”

181.
181.   According to
       According  to publicly
                      publicly available
                               available documents,
                                         documents, TON
                                                    TON Labs    provides an
                                                         Labs provides    an "end-to-end
                                                                             “end-to-end solution
                                                                                          solution
       for investors
       for investors in the Telegram
                     in the           Open Network
                            Telegram Open   Network to
                                                    to receive,
                                                       receive, store,
                                                                store, trade
                                                                       trade and
                                                                             and benefit
                                                                                 benefit from  their
                                                                                         from their
       Grams.”
       Grams."

182.
182.   Defendants are
       Defendants    are not
                         not corporate
                             corporate affiliates
                                       affiliates of
                                                  of TON
                                                     TON Labs, nor is
                                                         Labs, nor    TON Labs
                                                                   is TON Labs aa corporate
                                                                                  corporate
       affiliate of
       affiliate of Defendants.
                    Defendants.

183.
183.   Defendants believe
       Defendants believe that
                          that Oleg
                               Oleg Seydak
                                    Seydak is the founder
                                           is the founder and
                                                          and CEO
                                                              CEO of
                                                                  of Gram
                                                                     Gram Vault.
                                                                          Vault.

184.
184.   Defendants believe
       Defendants believe that
                          that Alexander
                               Alexander Filatov
                                         Filatov is
                                                 is one
                                                    one of
                                                        of the
                                                           the co-founders
                                                               co-founders of
                                                                           of Gram
                                                                              Gram Vault.
                                                                                   Vault.

185.
185.   Based on
       Based on certain
                certain documents
                        documents obtained
                                  obtained from
                                           from third
                                                third parties,
                                                       parties, it appears that
                                                                it appears that John Hyman
                                                                                John Hyman
       began working
       began working at
                      at Gram
                         Gram Vault
                              Vault at
                                    at some
                                       some point
                                            point after
                                                  after he
                                                        he ceased
                                                           ceased employment      with Telegram
                                                                    employment with    Telegram
       and deposited
       and           over $700,000
           deposited over          into Gram
                          $700,000 into       Vault’s bank
                                        Gram Vault's  bank accounts.
                                                            accounts.

186.
186.   Blackmoon Financial
       Blackmoon Financial Group
                           Group is
                                 is aa financial
                                       financial technology
                                                 technology company.
                                                            company.

187.
187.   Blackmoon Crypto
       Blackmoon Crypto is
                        is aa digital
                              digital asset
                                      asset platform
                                            platform affiliated
                                                     affiliated with
                                                                with Blackmoon
                                                                     Blackmoon Financial
                                                                               Financial Group.
                                                                                         Group.


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                                                 15
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188.
188.   Blackmoon Crypto
       Blackmoon Crypto is
                        is aa Malta
                              Malta registered
                                    registered entity.
                                               entity.

189.
189.   In
       In September   2019, Blackmoon
           September 2019,  Blackmoon Crypto
                                      Crypto announced
                                             announced that
                                                       that it would be
                                                            it would be the
                                                                        the first
                                                                            first exchange to
                                                                                  exchange to
       list Grams
       list Grams for
                  for public
                      public trading.
                             trading.

190.
190.   In
       In September 2019, Blackmoon
          September 2019, Blackmoon Crypto
                                    Crypto announced
                                           announced that
                                                     that it
                                                          it partnered
                                                             partnered with
                                                                       with Gram Vault.
                                                                            Gram Vault.

191.
191.   Ilya Perekopsky, aa Telegram
       Ilya Perekopsky,             employee, purchased
                           Telegram employee, purchased interests
                                                        interests in
                                                                  in $3.72
                                                                     $3.72 million
                                                                           million Grams
                                                                                   Grams in
                                                                                         in
       Round One
       Round  One of
                   of the
                      the Offering.
                          Offering.

192.
192.   Ilya Perekopsky is
       Ilya Perekopsky is one
                          one of
                              of the
                                 the co-founders of Blackmoon
                                     co-founders of Blackmoon Financial
                                                              Financial Group.
                                                                        Group.

193.
193.   Ilya Perekopsky is
       Ilya Perekopsky is aa shareholder
                             shareholder of
                                         of Blackmoon
                                            Blackmoon Financial
                                                      Financial Group.
                                                                Group.

194.
194.   Oleg Seydak
       Oleg        indirectly holds
            Seydak indirectly holds beneficial
                                    beneficial interests in Blackmoon
                                               interests in Blackmoon Financial
                                                                      Financial Group,
                                                                                Group, with
                                                                                       with the
                                                                                            the
       remainder owned
       remainder owned by
                        by minority
                           minority shareholders.
                                     shareholders.

195.
195.   Prior to
       Prior to joining
                joining Telegram
                        Telegram in  late 2017,
                                  in late  2017, Ilya
                                                 Ilya Perekopsky
                                                      Perekopsky worked
                                                                    worked asas aa shareholder
                                                                                   shareholder advisor
                                                                                               advisor
       to Blackmoon
       to Blackmoon Financial
                       Financial Group,
                                 Group, and
                                          and he
                                              he is still aa shareholder
                                                 is still    shareholder today.
                                                                         today.

196.
196.   Defendants believe
       Defendants believe that
                          that Oleg
                               Oleg Seydak
                                     Seydak is the CEO
                                            is the CEO ofof Blackmoon
                                                            Blackmoon Financial
                                                                      Financial Group
                                                                                Group and
                                                                                      and
       Blackmoon Crypto
       Blackmoon  Crypto and
                          and that
                               that Sergey Vasin is
                                    Sergey Vasin is his
                                                    his deputy.
                                                        deputy.

197.
197.   Defendants believe
       Defendants believe that
                          that Moshe
                               Moshe Joshua is Blackmoon
                                     Joshua is Blackmoon Crypto's
                                                         Crypto’s Chief
                                                                  Chief Product
                                                                        Product Officer.
                                                                                Officer.

198.
198.   Oleg Seydak
       Oleg        and Moshe
            Seydak and Moshe Joshua assisted Telegram
                             Joshua assisted          in identifying
                                             Telegram in identifying potential
                                                                     potential investors
                                                                               investors in
                                                                                         in the
                                                                                            the
       Offering.
       Offering.

199.
199.   Oleg Seydak
       Oleg        is not,
            Seydak is not, and
                           and has
                               has never
                                   never been,
                                         been, an
                                               an employee of Defendants.
                                                  employee of Defendants.

200.
200.   Moshe Joshua
       Moshe Joshua is not, and
                    is not, and has
                                has never
                                    never been,
                                          been, an
                                                an employee of Defendants.
                                                   employee of Defendants.

201.
201.   Defendants believe
       Defendants believe that
                          that Sergey Vasin is
                               Sergey Vasin is the
                                               the Chief
                                                   Chief Operating
                                                         Operating Officer
                                                                   Officer of
                                                                           of Blackmoon
                                                                              Blackmoon
       Financial.
       Financial.

202.
202.   Sergey Vasin is
       Sergey Vasin    not, and
                    is not, and has
                                has never
                                    never been,
                                          been, an
                                                an employee of Defendants.
                                                   employee of Defendants.

203.
203.   Defendants are
       Defendants  are not
                       not corporate
                           corporate affiliates
                                      affiliates of
                                                 of Blackmoon
                                                    Blackmoon Financial
                                                                 Financial Group
                                                                           Group or
                                                                                 or Blackmoon
                                                                                    Blackmoon
       Crypto, nor
       Crypto, nor are
                   are those
                       those entities
                             entities corporate   affiliates of
                                      corporate affiliates   of Defendants.
                                                                Defendants.

204.
204.   In
       In September   2019, it
          September 2019,    it was
                                was reported
                                      reported that
                                               that Blackmoon
                                                    Blackmoon Crypto
                                                              Crypto "is
                                                                     “is eyeing  to be
                                                                          eyeing to be one
                                                                                       one of
                                                                                           of the
                                                                                              the
       first class
       first class companies
                   companies toto list
                                  list Telegram's
                                       Telegram’s upcoming
                                                    upcoming Gram
                                                             Gram token
                                                                  token through
                                                                         through aa collaboration
                                                                                    collaboration
       with Swiss
       with         crypto custodian
             Swiss crypto  custodian Gram
                                        Gram Vault."
                                              Vault.”

205.
205.   Attached as
       Attached   as Exhibit
                     Exhibit JX29  is aa true
                              JX29 is    true and
                                              and correct
                                                  correct copy of this
                                                          copy of this announcement,
                                                                       announcement, which
                                                                                     which can
                                                                                           can be
                                                                                               be
       found at:
       found  at: https://tokenpost.com/Underdog-crypto-exchange-Blackmoon-says-it-will-be-
                  https://tokenpost.com/Underdog-crypto-exchange-Blackmoon-says-it-will-be-
       the-first-to-sell-Telegrams-native-token-3373.
       the-first-to-sell-Telegrams-native-token-3373.


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206.
206.   Coinbase, Binance,
       Coinbase,  Binance, OKEx,
                           OKEx, Liquid    and Huobi
                                   Liquid and   Huobi are
                                                       are digital
                                                           digital asset
                                                                   asset trading
                                                                         trading platforms
                                                                                 platforms that
                                                                                           that
       approached Telegram
       approached            about listing
                    Telegram about  listing Grams
                                            Grams on
                                                   on their
                                                       their platforms
                                                             platforms and
                                                                       and making
                                                                            making them
                                                                                     them available
                                                                                          available
       for sales
       for sales and
                 and purchases
                     purchases by
                               by users
                                  users of
                                         of those
                                            those platforms.
                                                  platforms.

207.
207.   Defendants have
       Defendants  have become
                        become aware,
                                 aware, from
                                         from time
                                                time to
                                                      to time,
                                                         time, of
                                                                of facts suggesting that
                                                                   facts suggesting   that some
                                                                                           some initial
                                                                                                 initial
       purchasers may
       purchasers may have   sought to
                       have sought   to sell
                                        sell their
                                             their interests
                                                   interests in
                                                             in Grams
                                                                Grams prior
                                                                         prior to
                                                                               to issuance  of the
                                                                                  issuance of  the Grams
                                                                                                   Grams
       to them
       to them and
               and in violation of
                   in violation of the
                                   the Purchase
                                       Purchase Agreements.
                                                   Agreements.

208.
208.   Defendants were
       Defendants   were aware
                          aware by
                                 by some
                                     some time
                                            time in
                                                 in 2019
                                                    2019 that
                                                         that an
                                                              an entity named Gram
                                                                 entity named  Gram Asia
                                                                                    Asia purported
                                                                                         purported
       to offer to sell Grams  or interests  in Grams prior to launch
       to offer to sell Grams or interests in Grams prior to launch of of the
                                                                          the TON
                                                                              TON Blockchain
                                                                                  Blockchain using
                                                                                             using
       the digital
       the         asset platform
           digital asset platform Liquid.
                                   Liquid.

209.
209.   Defendants are
       Defendants  are not
                        not corporate
                            corporate affiliates
                                      affiliates of
                                                 of Gram
                                                    Gram Asia
                                                         Asia or
                                                              or Liquid nor are
                                                                 Liquid nor are those
                                                                                those entities
                                                                                      entities
       corporate affiliates
       corporate affiliates of
                            of Defendants.
                               Defendants.

X.
X.     MISCELLANEOUS
       MISCELLANEOUS

210.
210.   Since  October 31,
       Since October       2019 through
                       31, 2019 through the
                                         the present,
                                             present, Defendants
                                                      Defendants have
                                                                  have continued
                                                                       continued to
                                                                                  to undertake
                                                                                     undertake
       efforts to develop certain features that could be used in connection with the TON
       efforts to develop certain features that could be used in connection with the  TON
       Blockchain.
       Blockchain.

211.
211.   Defendants have
       Defendants  have not
                        not made
                            made any
                                   any final
                                       final determinations
                                             determinations regarding
                                                             regarding the
                                                                       the TON
                                                                           TON Foundation,
                                                                                Foundation, but
                                                                                             but
       currently contemplate
       currently             that the
                 contemplate that the TON    Foundation will
                                      TON Foundation     will determine
                                                              determine whether
                                                                         whether to
                                                                                 to sell
                                                                                    sell Grams by
                                                                                         Grams by
       comparing the
       comparing  the Reference
                      Reference Price
                                Price and
                                       and current
                                            current free market price
                                                    free market price of
                                                                      of Grams.
                                                                         Grams.

212.
212.   Defendants have
       Defendants  have not
                         not made
                             made any
                                    any final
                                        final determinations
                                              determinations regarding the TON
                                                             regarding the       Foundation, but
                                                                           TON Foundation,    but
       currently contemplate
       currently              that the
                 contemplate that  the TON
                                       TON Foundation
                                              Foundation will
                                                         will be
                                                              be responsible
                                                                 responsible for determining
                                                                             for determining
       which exchanges
       which             are utilized
              exchanges are  utilized for
                                      for this
                                          this purpose
                                               purpose and
                                                       and how
                                                           how such
                                                                such price
                                                                     price determination  is being
                                                                           determination is  being
       made, and
       made,  and currently contemplate that
                  currently contemplate   that the
                                               the TON  Foundation will
                                                   TON Foundation   will make
                                                                         make this
                                                                               this information
                                                                                    information
       publicly available.
       publicly available.

213.
213.   It is not
       It is not currently
                  currently known whether, at
                            known whether, at launch, Grams will
                                              launch, Grams will be
                                                                 be accepted
                                                                    accepted as
                                                                             as legal
                                                                                legal tender
                                                                                      tender in
                                                                                             in
       any jurisdiction.
       any   jurisdiction.

214.
214.   Defendants have
       Defendants  have not  contacted any
                         not contacted any persons
                                           persons or
                                                    or entities
                                                       entities to
                                                                to request that they
                                                                   request that they act
                                                                                     act as
                                                                                         as
       validators on
       validators on the
                     the TON   Blockchain upon
                         TON Blockchain   upon its
                                                its launch.
                                                    launch.




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Dated: New
Dated: New York,
            York, NY
                   NY
       January 15, 2020
       January 15, 2020


 SECURITIES AND EXCHANGE
 SECURITIES AND EXCHANGE                  SKADDEN, ARPS, SLATE,
                                          SKADDEN, ARPS, SLATE,
 COMMISSION
 COMMISSION                                MEAGHER &
                                           MEAGHER  & FLOM
                                                      FLOM LLP
                                                           LLP


 By:
 By:      /s/
          /s/ Jorge G. Tenreiro
              Jorge G. Tenreiro           By:
                                          By:      /s/
                                                   /s/ Scott D. Musoff
                                                       Scott D. Musoff
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        Jorge G.  Tenreiro                       Scott D. Musoff
                                                 Scott D. Musoff

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                         Securities and
                                    and   Four Times
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                                                      Square
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                                                        Defendants




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